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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF NEW YORK


  IN RE HAIN CELESTIAL HEAVY
  METALS BABY FOOD LITIGATION,                                     CONSOLIDATED AMENDED
                                                                   CLASS ACTION COMPLAINT

                                                                   Case No.: 2:21-cv-0678-JS-AYS

                                                                   JURY TRIAL DEMANDED




                    CONSOLIDATED AMENDED CLASS ACTION COMPLAINT

            Plaintiffs Asyia Andrews, Lisa Gans, Shahalis Wilson, Myjorie Philippe, Zeynep Senturk

  Mannix, Monica Hazelwood, Carolyn Leary, Bethany Nickerson, Lizette Romero Ortiz, Elena

  Thormahlen, Amanda Roman, Cassie Caldwell, Simone Craig, Cassie Isza, Helen Howard, Jade

  Huguenot, Stephanie Weimer, Jessie McNaughton, and Tanya Motsay on behalf of themselves

  and all others similarly situated, by and through their undersigned attorneys, bring this

  Consolidated Amended Class Action Complaint against Defendant Hain Celestial, Inc.

  (“Defendant” or “Hain”), for its negligent, reckless, and/or intentional practice of failing to fully

  disclose the presence of lead, arsenic, cadmium, mercury, perchlorate, and/or other undesirable

  toxins or contaminants (collectively “Toxic Heavy Metals and/or other toxins”) in its baby food. 1

  Defendant’s baby food is sold throughout the United States and does not conform to its packaging.

            Plaintiffs seek both injunctive and monetary relief on behalf of the proposed Nationwide

  Class, or in the alternative, Classes (as defined herein), including requiring full disclosure of all



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          Plaintiffs have provided sufficient notice to Defendant of the claims herein.
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  such substances in its packaging, mandatory testing protocols, and restoring monies to the

  members of the proposed Classes. Plaintiffs allege the following based upon personal knowledge,

  as well as investigation by their counsel as to themselves, and as to all other matters, upon

  information and belief. Plaintiffs believe that substantial evidentiary support will exist for the

  allegations set forth herein after a reasonable opportunity for discovery.

                                     NATURE OF THE ACTION

          1.      As a manufacturer of baby food products, Hain Celestial, Inc. (“Hain”) is directly

  responsible to the health and safety of infants and children – a task of the utmost importance. Any

  products manufactured for ingestion by infants and children, one of society’s most vulnerable

  groups, must have honest and forthcoming labeling regarding its contents. Despite this, Defendant

  abandoned its responsibility to keep infants and children safe by knowingly manufacturing and

  selling baby food products containing dangerous amounts of Toxic Heavy Metals and/or other

  toxins. Hain repeatedly fails to conduct adequate testing of the levels of Toxic Heavy Metals and/or

  other toxins in its products. As a result, Hain’s Earth’s Best Baby Food products contain

  unreasonably high levels of Toxic Heavy Metals and/or other toxins which are sold and fed to

  infants nationally.

          2.      In fact, the levels of Toxic Heavy Metals and/or other toxins in Defendant’s

  ingredients far exceed the levels accepted as safe for ingestion in other food products and in

  drinking water.

          3.      Plaintiffs trusted Hain when it constantly and consistently assured consumers that

  its baby food is healthy, nutritious, and free from harmful toxins, contaminants, and chemicals.

  Hain, in fact, calls its products “Earth’s Best.” Most importantly, reasonable parents, like Plaintiffs,

  believed Hain would never sell products that contained unsafe levels of Toxic Heavy Metals and/or




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  other toxins known to pose significant dangers to children with potentially life-altering

  consequences.

           4.       Defendant’s marketing materials and packaging state that its Baby Foods 2 are

  USDA Organic, Non-GMO, free of Preservatives, free of GMOs, free of pesticides or herbicides,

  Nurturing Baby the Purest Way, and made with superior ingredients.

           5.       Hain charges a premium price for these alleged benefits. All the while, Defendant

  induces reasonable consumers to believe in the quality and safety of its products for consumption

  by infants and children. Nowhere on the packaging or advertisements does Defendant disclose that

  its Baby Foods include Toxic Heavy Metals and/or other toxins. Based on the packaging and

  advertisements, no reasonable consumer would expect or understand that the Baby Foods contain

  Toxic Heavy Metals and/or other toxins or that the Baby Foods might contain Toxic Heavy Metals

  and/or other toxins in dangerous amounts. Further, reasonable consumers would also not expect

  that Defendant does not conduct adequate testing of its Baby Foods for Toxic Heavy Metals and/or

  other toxins in dangerous amounts.

           6.       Industry insiders, such as baby food manufacturers and ingredient suppliers, were

  aware of reports of Toxic Heavy Metals and/or other toxins in Hain’s Earth’s Best Baby Food

  products for several years.

           7.       Instead of taking steps to remove the Toxic Heavy Metals and/or other toxins from

  its products, Hain established unacceptable internal specifications by capping allowable amounts

  of some Toxic Heavy Metals and/or other toxins in each ingredient, which are well-above Food

  and Drug Administration (“FDA”) standards for other substances, such as drinking water and rice.

  Specifically, Hain’s specifications do not require testing for inorganic arsenic, mercury, or


       2
          “Baby Foods” collectively refers to the Earth’s Best products listed on Exhibit A. Plaintiffs reserve their
  rights to modify this list after opportunity for discovery.


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  perchlorate, three toxins known to be present in Hain products. The internal specifications that

  were set for other Toxic Heavy Metals and/or other toxins are too high and deviate from any legal

  or scientific reasoning.

         8.         Not only does Hain rely on unsafe internal specifications, Hain exceeded and

  ignored its own internal specifications. When Defendant exceeded its own specifications, it

  deceptively manipulated its testing results, and the related calculations, to create a false reality –

  that the Baby Foods were safe. Hain continued to rely on its flawed internal specifications and

  deceptive records in order to justify the statements on its label, including “Organic,” “All Natural,”

  and “Earth’s Best.”

         9.         Hain concealed these specifications by creating the specifications behind closed

  doors without reliable science, regulatory guidance, or even public comment. Even now, the

  public, unaware of these internal specifications, cannot adequately assess the safety of these

  specifications.

         10.        Worse, Hain only tests raw materials. Hain does not test any of its finished products.

  As set forth below, there is a remarkable difference between levels of Toxic Heavy Metals and/or

  other toxins in raw ingredients versus finished products. Finished products test at higher levels of

  Toxic Heavy Metals and/or other toxins than raw ingredients.

         11.        Worse yet, upon information and belief, Hain did not test all ingredients. Hain

  arbitrarily chose to test only certain ingredients based on its unscientific reasoning that only certain

  ingredients come with an increased risk of containing Toxic Heavy Metals and/or other toxins.

         12.        100% of the Hain’s Earth’s Best Baby Foods that were tested by the FDA contained

  inorganic arsenic levels that were higher in the finished baby food than the Company had




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  estimated based on Hain’s testing of the raw ingredients. For example, arsenic was between 28%

  and 93% higher in the finished products.

         13.     These statements are not mere allegations. In a detailed report, the Congressional

  Subcommittee on Economic and Consumer Policy (“Congressional Subcommittee”) affirmatively

  found that Hain’s products contain Toxic Heavy Metals and/or other toxins and that its internal

  specifications permit dangerously high levels.

         14.     The Subcommittee further found that Defendant utilized insufficient testing

  procedures resulting in the sale of products containing Toxic Heavy Metals and/or other toxins

  multiples higher than the levels legally allowed in other products.

         15.     Plaintiffs and consumers had no reason to know or expect that Hain’s Earth’s Best

  Baby Foods contained Toxic Heavy Metals and/or other toxins, that Hain’s Earth’s Best Baby

  Food products might contain Toxic Heavy Metals and/or other toxins in dangerous amounts, or

  that Hain did not adequately test its Earth’s Best Baby Food products for the Toxic Heavy Metals

  and/or other toxins.

         16.     Plaintiffs relied on, and were deceived by, the limited information that Hain made

  available about its products. As a result, infants and children ingested these toxic foods, often

  multiple times a day, to their detriment, as exposure to Toxic Heavy Metals and/or other toxins are

  dangerous at any level.

         17.     Reasonable parents, like Plaintiffs, who were routinely feeding Earth’s Best Baby

  Foods to their babies would consider the mere risk of exposure to Toxic Heavy Metals and/or other

  toxins or contaminants a material fact when considering whether to purchase the Baby Foods.

         18.     Here, Defendant knowingly conceals from the public all material information about

  the presence of Toxic Heavy Metals and/or other toxins, its internal specifications, internal and




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  external testing results, and its products’ hazards. For years, Hain has prioritized profits over

  people when it sacrificed and continues to sacrifice the health and safety of infants and children,

  just to increase corporate revenue.

          19.    Plaintiffs bring this proposed class action on behalf of themselves and all other

  members of the Class (as defined herein), who, from the applicable statute of limitations period up

  to and including the present, purchased for personal, family, or household use and not resale any

  of Defendant’s toxic Baby Foods.

                                   JURISDICTION AND VENUE

          20.    This Court has subject matter jurisdiction under the Class Action Fairness Act of

  2005 (hereinafter referred to as “CAFA”) codified as 28 U.S.C. § 1332(d)(2), because the

  aggregate amount in controversy exceeds $5,000,000.00, exclusive of interest and costs; the

  number of members of the proposed Class exceeds 100; and a majority of the Plaintiffs and

  members of the proposed Class and Subclasses are citizens of a state different than Defendant.

          21.    This Court has personal jurisdiction over Defendant Hain Celestial Group, Inc.

  because its headquarters and principal place of business are in this District and because the

  advertising, labeling, packing, manufacturing, sale, and distribution of Hain Baby Foods and the

  misrepresentations, misleading remarks, and/or deceptive acts in connection with Hain Baby

  Foods, occurred, developed, or were initiated in this District.

          22.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391, because Plaintiffs

  suffered injury as a result of Defendant’s acts in this District, many of the acts and transactions

  giving rise to this action occurred in this District, and Defendant conducts substantial business in

  this District and is headquartered in this District. Defendant intentionally availed itself to this

  District’s laws and markets of this district, and Defendant is subject to personal jurisdiction in this

  District.


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                                           THE PARTIES

          23.    Plaintiff Lizette Romero Ortiz (“Plaintiff Ortiz”) was at all times relevant hereto, a

  resident of California when she purchased the Baby Foods for her children. She generally

  purchased the Baby Foods for her children from Mother’s Market & Kitchen and Stater Bros.

  Market, including Whole Grain Organic Oatmeal Cereal, First Carrots Organic Baby Food, Sweet

  Potatoes Organic Baby Food, Winter Squash Organic Baby Food, Apples Organic Baby Food, and

  First Pears Organic Baby Food. Plaintiff Ortiz made these purchases from May 2016 until

  December 2016 and again from July 2017 to December 2017 when her children no longer ate the

  Baby Foods. Plaintiff Ortiz believed she was feeding her children healthy, nutritious baby food.

          24.    Plaintiff Lisa Gans (“Plaintiff Gans”) was at all times relevant hereto, a resident of

  the District of Columbia when she purchased the Baby Foods for her child. She generally

  purchased the Baby Foods for her child from Amazon, including Earth’s Best Organic Stage 2

  Banana, Raspberry, and Brown Rice Pouches. Plaintiff Gans made these purchases from May 2016

  until September 2016. Plaintiff Gans believed she was feeding her child healthy, nutritious baby

  food.

          25.    Plaintiff Zeynep Senturk Mannix (“Plaintiff Mannix”) was at all times relevant

  hereto a resident of Washington D.C. when she purchased the Baby Foods for her child. She

  purchased the Baby Foods for her child from Whole Foods, including Whole Grain Organic

  Oatmeal Cereal. Plaintiff Mannix generally purchased these foods from approximately March

  2020 until November 2020, when her child no longer ate the Baby Foods. Plaintiff Mannix

  believed she was feeding her child healthy, nutritious baby food.

          26.    Plaintiff Jade Huguenot (“Plaintiff Huguenot”) is, and at all times relevant hereto

  has been, a resident of Idaho. She generally purchased the Baby Foods for her child from Target

  and Safeway, including: Sesame Street Organic Peanut Butter Baked Corn Puffs, Sesame Street


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  Organic Fruit Yogurt Smoothie - Apple Blueberry, Winter Squash Organic Baby Food, and First

  Peas Organic Baby Food. Plaintiff Huguenot made these purchases prior to February 2021 until

  approximately March 2022 when she learned about the presence of Toxic Heavy Metals and/or

  other toxins in the Baby Foods. Plaintiff Huguenot believed she was feeding her child healthy,

  nutritious baby food.

          27.    Plaintiff Cassie Isza (“Plaintiff Isza”) is, and at all times relevant hereto has been,

  a resident of Indiana. She generally purchased the Baby Foods for her child from Meijer, including

  Whole Grain Organic Oatmeal Cereal, Organic Rice Cereal, Whole Grain Organic Multi-Grain

  Cereal, and Sesame Street Organic Fruit Yogurt Smoothie - Apple Blueberry. Plaintiff Isza made

  these purchases prior to and until approximately August 2020 when she learned about the presence

  of Toxic Heavy Metals and/or other toxins in the Baby Foods. Plaintiff Isza believed she was

  feeding her child healthy, nutritious baby food.

          28.    Plaintiff Shahalis Wilson (“Plaintiff Wilson”) is, and at all times relevant hereto

  has been, a resident of Kentucky. She generally purchased the Baby Foods for her children from

  Krogers and Walmart, including Whole Grain Organic Oatmeal Cereal, Organic Rice Cereal, and

  Organic Sweet Potato Cinnamon Flax & Oat – Wholesome Breakfast Puree. Plaintiff Wilson made

  these purchases in 2011, between 2017 and 2019, and between 2021 and 2022. She stopped making

  these purchases when she learned about the presence of Toxic Heavy Metals and/or other toxins

  in the Baby Foods. Plaintiff Wilson believed she was feeding her children healthy, nutritious baby

  food.

          29.    Plaintiff Bethany Nickerson (“Plaintiff Nickerson”) is, and at all times relevant

  hereto has been, a resident of Maine. She generally purchased the Baby Foods for her children

  from Walmart, including Whole Grain Organic Oatmeal Cereal, Organic Rice Cereal, Whole Grain




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  Organic Multi-Grain Cereal, Organic Sensitivity – DHR/ARA Infant Formula with Iron Organic

  Milk-Based Powder, Sesame Street Organic Peanut Butter Baked Corn Puffs, First Carrots

  Organic Baby Food, Sweet Potatoes Organic Baby Food, Winter Squash Organic Baby Food, and

  Chicken and Brown Rice Organic Baby Food. Plaintiff Nickerson made these purchases between

  August 2017 and December 2021. She stopped making these purchases when she learned about

  the presence of Toxic Heavy Metals and/or other toxins in the Baby Foods. Plaintiff Nickerson

  believed she was feeding her children healthy, nutritious baby food.

         30.     Plaintiff Myjorie Philippe (“Plaintiff Philippe”) is, and at all times relevant hereto has

  been, a resident of Massachusetts. She generally purchased the Baby Foods for her children from

  Target, Wegmans, Babies R Us, and Whole Foods, including Whole Grain Organic Oatmeal

  Cereal, Organic Rice Cereal, Organic Sensitivity – DHR/ARA Infant Formula with Iron Organic

  Milk-Based Powder, Sweet Potatoes Organic Baby Food. Plaintiff Philippe made these purchases

  from 2017 until approximately February 2021 when she learned about the presence of Heavy

  Metals in the Toxic Baby Foods. Plaintiff Philippe believed she was feeding her children healthy,

  nutritious baby food.

         31.     Plaintiff Cassie Caldwell (“Plaintiff Caldwell”) is, and at all relevant times hereto

  has been, a resident of Missouri. She generally purchased the Baby Foods for her child from

  Walmart including Sesame Street Organic Peanut Butter Baked Corn Puffs and Sesame Street

  Organic Fruit Yogurt Smoothies. Plaintiff Caldwell made these purchases between September

  2019 and August 2021 when she learned about the presence of Heavy Metals in the Toxic Baby

  Foods. Plaintiff Caldwell believed she was feeding her child healthy, nutritious baby food.

         32.     Plaintiff Elena Thormahlen (“Plaintiff Thormahlen”) is, and at all times relevant

  hereto has been, a resident of Nevada. She generally purchased the Baby Foods for her children




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 from Amazon and Publix including Whole Grain Organic Oatmeal Cereal and Organic Sweet

 Potato Cinnamon Flax & Oat – Wholesome Breakfast Puree. Plaintiff Thormahlen made these

 purchases between September 2017 and September 2020 when her children no longer ate the Baby

 Foods. Plaintiff Thormahlen believed she was feeding her children healthy, nutritious baby food.

        33.     Plaintiff Carolyn Leary (“Plaintiff Leary”) is, and at all times relevant hereto has

 been, a resident of New Hampshire. She generally purchased the Baby Foods for her children from

 Target and Whole Foods including Sesame Street Organic Peanut Butter Baked Corn Puffs, Sunny

 Days Snack Bars – Sweet Potato Carrot, Sweet Potatoes Organic Baby Food, First Pears Organic

 Baby, Sesame Street Organic Fruit Yogurt Smoothie, and Sesame Street Alphabet Cookies.

 Plaintiff Leary made these purchases between 2019 and 2022. She made less of these purchases

 when she learned about the presence of Toxic Heavy Metals and/or other toxins in the Baby Foods.

 Plaintiff Leary believed she was feeding her children healthy, nutritious baby food.

        34.     Plaintiff Asyia Andrews (“Plaintiff Andrews”) is, and at all times relevant hereto,

 has been a resident of the state of New Jersey. She purchased the Baby Foods for her child,

 including Whole Grain Organic Oatmeal Cereal, Sunny Days Snack Bars, Carrots Organic Baby

 Foods, Sweet Potato Organic Baby Foods, Chicken & Brown Rice Organic Baby Food, Organic

 Turkey Quinoa Apple Sweet Potato, Homestyle Meal Puree, Organic Sweet Potato Cinnamon Flax

 & Oat – Wholesome Breakfast. Plaintiff Andrews generally purchased these foods from Target,

 Shoprite, and Amazon Fresh in various locations around her home in Union County, New Jersey

 from approximately April 2020 until December 2020, when her child no longer ate the Baby

 Foods. Plaintiff Andrews believed she was feeding her child healthy, nutritious baby food.

        35.     Plaintiff Jessie McNaughton (“Plaintiff McNaughton”) is, and at all times relevant

 hereto has been, a resident of New York. She generally purchased the Baby Foods for her children




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 from Wegmans, including Whole Grain Organic Oatmeal Cereal, Organic Rice Cereal, Whole

 Grain Organic Multi-Grain Cereal, Sesame Street Organic Peanut Butter Baked Corn Puffs, Sunny

 Days Snack Bars – Sweet Potato Carrot, Carrots Organic Baby Food, First Carrots Organic Baby

 Food, Sweet Potatoes Organic Baby Food, First Peas Organic Baby Food, Apples Organic Baby

 Food, First Pears Organic Baby, Spinach and Potato Organic Baby Food, Chicken and Brown Rice

 Organic Baby Food, Organic Turkey Quinoa Apple Sweet Potato Homestyle Meal Puree, and

 Organic Chicken Pot Pie Homestyle Meal Puree. Plaintiff McNaughton made these purchases prior

 to and until approximately November 2020 when her children no longer ate the Baby Foods.

 Plaintiff McNaughton believed she was feeding her children healthy, nutritious baby food.

        36.     Plaintiff Helen Howard (“Plaintiff Howard”) is, and at all times relevant hereto has

 been, a resident of North Carolina. She generally purchased the Baby Foods for her children from

 Harris Teeter, including Whole Grain Organic Oatmeal Cereal, Sweet Potatoes Organic Baby

 Food, Apples Organic Baby Food, First Pears Organic Baby Food, and Organic Sweet Potato

 Cinnamon Flax & Oat – Wholesome Breakfast Puree. Plaintiff Howard made these purchases prior

 to and until approximately February 2021 when she learned about the presence of Toxic Heavy

 Metals and/or other toxins in the Baby Foods. Plaintiff Howard believed she was feeding her

 children healthy, nutritious baby food.

        37.     Plaintiff Tanya Motsay (“Plaintiff Motsay”) is, and at all times relevant hereto has

 been, a resident of Pennsylvania. She generally purchased the Baby Foods for her children from

 Amazon, including Sesame Street Organic Fruit Yogurt Smoothie – Apple Blueberry, Chicken

 and Brown Rice Organic Baby Food, and Earth’s Best Variety Packs. Plaintiff Motsay made these

 purchases from 2016 until approximately January 2022 when she learned about the presence of




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 Toxic Heavy Metals and/or other toxins in the Baby Foods. Plaintiff Motsay believed she was

 feeding her children healthy, nutritious baby food.

        38.     Plaintiff Amanda Roman (“Plaintiff Roman”) is, and at all times relevant hereto

 has been, a resident of Rhode Island. She generally purchased the Baby Foods for her child from

 Amazon, Target, and CVS Pharmacy, including Earth’s Best Organic Sensitivity—DHR/ARA

 Infant Formula with Iron Milk-Based Powder. Plaintiff Roman made these purchases from January

 2020 until approximately February 2021 when she learned about the presence of Toxic Heavy

 Metals and/or other toxins in the Baby Foods. Plaintiff Roman believed she was feeding her child

 healthy, nutritious baby food.

        39.     Plaintiff Stephanie Weimer (“Plaintiff Weimer”) is, and at all times relevant hereto

 has been, a resident of Virginia. She generally purchased the Baby Foods for her children from

 Target, Krogers, and Amazon, including Earth’s Best Organic Toddler Milk Drink Powder, Earth’s

 Best Organic Sensitivity—DHR/ARA Infant Formula with Iron Milk-Based Powder, Whole Grain

 Organic Oatmeal Cereal, Organic Rice Cereal, Organic Turkey Quinoa Apple Sweet Potato

 Homestyle Meal Puree, Sweet Potatoes Organic Baby Food, First Pears Organic Baby Food, and

 Apples Organic Baby Food. Plaintiff Weimer made these purchases from April 2018 until

 approximately June 2021 when she learned about the presence of Toxic Heavy Metals and/or other

 toxins in the Baby Foods. Plaintiff Weimer believed she was feeding her children healthy,

 nutritious baby food.

        40.     Plaintiff Simone Craig (“Plaintiff Craig”) is, and at all times relevant hereto has

 been, a resident of Virginia. She generally purchased the Baby foods for her children from Target,

 Walmart, Wegmans, and Food Lion, including, Sweet Potatoes Organic Baby Food, Organic

 Turkey Quinoa Apple Sweet Potato Homestyle Meal Puree, and Organic Sweet Potato Cinnamon




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 Flax & Oat – Wholesome Breakfast Puree. Plaintiff Craig made these purchases prior to February

 2021 until approximately April 2021 when she learned about the presence of Toxic Heavy Metals

 and/or other toxins in the Baby Foods. Plaintiff Craig believed she was feeding her children

 healthy, nutritious baby food.

        41.     Plaintiff Monica Hazelwood (“Plaintiff Hazelwood”) is, and at all times relevant

 hereto has been, a resident of Washington. She generally purchased the Baby Foods for her

 children from Albertson’s, Krogers, and Walmart, including Organic Sensitivity – DHR/ARA

 Infant Formula with Iron Organic Milk-Based Powder, Carrots Organic Baby Food, First Carrots

 Organic Baby Food, Sweet Potatoes Organic Baby Food, Winter Squash Organic Baby Food, First

 Peas Organic Baby Food, Apples Organic Baby Food, First Pears Organic Baby Food, Organic

 Dairy Infant Formula with Iron, Organic Corn and Butternut Squash. Plaintiff Hazelwood made

 these purchases from September 2018 until approximately January 2022 when she learned about

 the presence of Toxic Heavy Metals and/or other toxins in the Baby Foods. Plaintiff Hazelwood

 believed she was feeding her children healthy, nutritious baby food.

        42.      Prior to purchasing the Baby Foods, Plaintiffs saw and relied upon the packaging

 of the Baby Foods. During the time they purchased and fed their children the Baby Foods, and due

 to the Omissions by Defendant, they were unaware Hain’s Baby Foods contained (or had a material

 risk of containing) any level of Toxic Heavy Metals and/or other toxins or contaminants, and would

 not have purchased the products, would have bought less of the products, or would have paid less

 for the products.

        43.      the Baby Foods if that information had been fully disclosed. Plaintiffs would be

 willing to purchase Hain’s Baby Food products in the future if she could be certain that they do

 not contain (or have a material risk of containing) Toxic Heavy Metals and/or other toxins.




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          44.     Defendant Hain is a Delaware corporation with its headquarters and principal place

 of business at 111 Marcus Avenue, Lake Success, New York. Defendant does business throughout

 the United States.

                                       FACTUAL ALLEGATIONS

 I.       THERE IS NO SAFE LEVEL FOR CONSUMPTION OF TOXIC HEAVY
          METALS AND/OR OTHER TOXINS

          A.      There Is No Safe Level of Lead Consumption for Babies

          45.     The Environmental Protection Agency (“EPA”), World Health Organization

 (“WHO”), the Centers for Disease Control and Prevention (“CDC”), The European Union (“EU”),

 and the American Academy of Pediatrics (“AAP”) unanimously agree that there is no established

 “safe level of lead (Pb) in a child’s blood.” 3

          46.     Lead ingestion by humans has long been subject to regulatory scrutiny. Indeed, the

 FDA has set a 5 ppb lead standard for bottled water, the WHO has set 10 ppb lead as a provisional

 guideline for drinking water, and the EPA has set an action level of 15 ppb for lead in drinking

 water. FDA has also issued guidance for lead in certain juices (50 ppb) and candy (100 ppb). 4 The

 EU has set the maximum lead level in infant formula to 20 ppb.5

          47.     These repeated calls for lower levels are based upon uncontroverted public

 knowledge of the dangers of lead exposure and potentially fatal lead ingestion. In fact, some




      3
        Congressional Subcommittee on Economic and Consumer Policy Report (hereinafter “Exhibit B”) at p. 10;
 see also, Valerie Zartarian, et al., Children’s Lead Exposure: A Multimedia Modeling Analysis to Guide Public
 Health Decision-Making (Sept. 12, 2017) (https://ehp.niehs.nih.gov/doi/10.1289/ehp1605) (last visited Mar. 5,
 2021); https://www.epa.gov/lead/learn-about-lead; see also, Philippe Grandjean, Even Low-Dose Lead Exposure Is
 Hazardous (Sept. 11, 2010) (https://pubmed.ncbi.nlm.nih.gov/20833288/).
      4
        Exhibit B at p. 21.
      5
        Id. at p. 22.


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 studies list lead as the second most harmful substance that poses a significant threat to human

 health. 6 Lead is also recognized by the WHO as a major public health concern.7

          48.     Numerous governmental agencies, including the FDA, recognize the significant

 health effects that lead can have on children and infants. High levels of lead exposure can seriously

 harm children’s development and health, specifically the brain and nervous system. Additionally,

 because lead can accumulate in the body, even low-level chronic exposure can be hazardous over

 time.8

          B.      There Is No Safe Level of Arsenic Consumption for Babies

          49.     Arsenic can be detected in two dangerous forms: organic arsenic and inorganic

 arsenic. Organic arsenic is found in plant and animal tissues. Inorganic arsenic is found in soil and

 groundwater. 9

          50.     Arsenic is recognized as one of the top ten chemicals of major public concern by

 the WHO. 10 The Agency for Toxic Substances and Disease Registry (“ATSDR”) recognizes

 arsenic as the number one substance to pose the most significant threat to human health.11

                  1.        Inorganic Arsenic

          51.     According to the FDA, children are likely to be “particularly susceptible to

 neurotoxic effects of inorganic arsenic.” 12



      6
         ATSDR’s Substance Priority List https://www.atsdr.cdc.gov/spl/index.html (last visited on Mar. 21, 2021).
      7
         https://apps.who.int/iris/bitstream/handle/10665/329480/WHO-CED-PHE-EPE-19.4.3-eng.pdf?ua=1 (last
 visited on Mar. 21, 2021).
       8
         FDA, Lead in Food, Foodwares, and Dietary Supplements (www.fda.gov/food/metals-and-your-food/lead-
 food-foodwares-and-dietary-supplements) (last visited on Mar. 19, 2021).
       9
         CDC, Arsenic Factsheet (Nov. 2009), https://www.cdc.gov/biomonitoring/pdf/arsenic_factsheet.pdf (last
 visited Mar. 10, 2022).
       10
          https://monographs.iarc.who.int/list-of-classifications (last visited on Mar. 19, 2021).
       11
          ATSDR’s Substance Priority List https://www.atsdr.cdc.gov/spl/index.html (last visited on Mar. 21, 2021).
       12
          FDA, Guidance for Industry: Action Level for Inorganic Arsenic in Rice Cereals for Infants (Aug. 2020),
 https://www.fda.gov/regulatory-information/search-fda-guidance-documents/guidance-industry-action-level-
 inorganic-arsenic-rice-cereals-infants (last accessed Mar. 20, 2021).


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           52.    The FDA has set maximum inorganic arsenic levels at 10 ppb for bottled water.

 The Environmental Protection Agency (EPA) has similarly set a 10 ppb inorganic arsenic cap on

 drinking water, as have the European Union (EU) and the World Health Organization (WHO). 13

           53.    While there is no established safe level for inorganic arsenic consumption by

 babies, the FDA, EPA, WHO, and EU have all set a maximum level of inorganic arsenic at 10

 ppb. 14

           54.    In 2020, the FDA issued “Guidance for Industry: Action Level for Inorganic

 Arsenic in Rice Cereals for Infants” stating that baby food products should not exceed inorganic

 arsenic levels of 100 ppb.15 Additionally, other reputable organizations call for even lower

 regulatory levels for inorganic arsenic in reports concerning levels related to cancer risk. Consumer

 Reports advocating levels as low as 3 ppb and Healthy Babies Bright Futures (“HBBF”) seeking

 a goal of no measurable amount of inorganic arsenic in baby food.

                  2.       Organic Arsenic

           55.    The FDA requires bottled water manufacturers to monitor the levels of arsenic in

 both their source and their finished goods annually. “The allowable level established by FDA for

 arsenic in bottled water is 10 micrograms (0.010 milligrams) per liter of water.” 16




      13
          FDA, Draft Guidance for Industry: Inorganic Arsenic in Rice Cereals for Infants: Action Level (Apr. 2016)
 (https://www.govinfo.gov/content/pkg/FR-2016-04-06/pdf/2016-07840.pdf (last visited on Mar. 21, 2021).
       14
          Health experts, including the AAP and Consumer Reports, advocated for a maximum level of 1 ppb instead
 of 10 ppb. Consumer Reports is a nonprofit organization that advocates for consumers.
       15
          FDA, Guidance for Industry: Action Level for Inorganic Arsenic in Rice Cereals for Infants (Aug. 2020),
 https://www.fda.gov/regulatory-information/search-fda-guidance-documents/guidance-industry-action-level-
 inorganic-arsenic-rice-cereals-infants (last accessed Mar. 20, 2021).
       16
          FDA, Small Entity Compliance Guide: Bottled Water and Arsenic, https://www.fda.gov/regulatory-
 information/search-fda-guidance-documents/small-entity-compliance-guide-bottled-water-and-arsenic


                                                         16
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                                               #: 2017



         56.      Scientific studies determining the long-term health effects of exposure to organic

 arsenic are ongoing. Currently, there are scientific studies that demonstrate potential health

 concerns associated with the organic arsenic found in foods. 17

         C.       There Is No Safe Level of Cadmium Consumption for Babies

         57.      “[C]admium . . . can be toxic for everyone and pose particular risks for young

 children.” 18

         58.      There is no federal standard for cadmium in baby food. Standards for cadmium

 levels in drinking water have been imposed by both the FDA and EPA. Both agencies impose a

 limit of 5 ppb. 19 Additionally, the WHO imposes a limit of 3 ppb.

         59.      The EPA has established a limit of 5 ppb in drinking water, and the FDA has set a

 limit of 5 ppb in bottled water. The WHO has issued a limit of 3 ppb for cadmium in drinking

 water and the EU has set a limit ranging from 5–20 ppb of cadmium for infant formula.

         60.      HBBF advocates for a goal of no measurable amount of cadmium in baby food and

 Consumer Reports has called for a limit of 1 ppb of cadmium in fruit juices. Consumer Reports

 recommends a limit of 1 ppb for cadmium in fruit and juices, while HBBF suggests 0 ppb.20

 Consumer Reports advocates for levels of less than 1 ppb. 21



       17
          FDA, Arsenic in Food and Dietary Supplements: Health Effects from Arsenic Exposure,
 https://www.fda.gov/food/metals-and-your-food/arsenic-food-and-dietary-supplements.
       18
          Jesse Hirsch, Heavy Metals in Baby Food: What You Need to Know, Consumer Reports (Aug. 16, 2018),
 https://www.consumerreports.org/food-safety/heavy-metals-in-baby-food-a6772370847/; see also David C.
 Bellinger, A Strategy for Comparing the Contributions of Environmental Chemicals and Other Risk Factors to
 Neurodevelopment of Children, Environ. Health Perspect. (Apr. 2012), https://doi.org/10.1289/ehp.1104170; Miguel
 Rodriguez-Barranco, et al. Association of Arsenic, Cadmium and Manganese Exposure with Neurodevelopment and
 Behavioral Disorders in Children: A Systematic Review and Met-Analysis (June 1, 2013)
 (https://pubmed.ncbi.nlm.nih.gov/23570911) (last visited March 17, 2022); Min-Jing Lee, et al., Heavy Metals’
 Effects on Susceptibility to Attention-Deficit/Hyperactivity Disorder: Implication of Lead, Cadmium, and Antimony
 (June 10, 2018) (https://pubmed.ncbi.nlm.nih.gov/29890770/) (last visited last visited March 17, 2022).
       19
          Id. at p. 29.
       20
          Id.
       21
          Id.


                                                        17
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                                                 #: 2018



           61.    The International Agency for Research on Cancer (“IARC”) classifies cadmium as

 a Group 1 carcinogen.22 Additionally, the ATSDR lists cadmium as the seventh most substance to

 pose a significant threat to human health.23 Further, the WHO recognizes cadmium as a major

 public health concern. 24

           62.    Cadmium has no physiological function in the human body and is a known

 neurotoxin. Consumption of cadmium is associated with decrease in IQ and development of

 ADHD. 25

           D.     There Is No Safe Level of Mercury Consumption for Babies

           63.    “Infants, children, and pregnant women are most vulnerable to the negative health

 effects of mercury.”26

           64.    Mercury, like inorganic arsenic, arsenic, lead, and cadmium, has long been

 recognized as a hazardous substance when ingested. For example, the EPA has capped mercury in

 drinking water at 2 ppb and nationwide, regulators have implemented advisories concerning the

 consumption of fish contaminated with mercury. The FDA has set a limit of 2 ppb of mercury in

 bottled water.

           65.    There is no federal standard for the level of mercury in baby food. The EPA imposes

 a standard requiring that levels of mercury in drinking water not exceed 2 ppb.27




      22
          https://monographs.iarc.who.int/list-of-classifications (last visited on Mar. 20, 2021).
      23
          ATSDR’s Substance Priority List https://www.atsdr.cdc.gov/spl/index.html (last visited on Mar. 21, 2021).
       24
          https://apps.who.int/iris/bitstream/handle/10665/329480/WHO-CED-PHE-EPE-19.4.3-eng.pdf?ua=1 (last
 visited on Mar. 21, 2021).
       25
          Id. at p. 12.
       26
          https://cehn.org/our-work/eco-healthy-child-care/ehcc-faqs/mercury/
       27
          Exhibit B at p. 48.


                                                         18
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                                               #: 2019



         66.      The WHO warns that mercury “may have toxic effects on the nervous, digestive

 and immune systems, and on lungs, kidneys, skin and eyes” 28 and considers mercury “one of the

 top ten chemicals or groups of chemicals of major public health concern.” 29 Mercury is the number

 three substance on the ATSDR’s list of dangerous substances in the environment, potentially

 posing a significant threat to human health.

         67.      HBBF advocates for a goal of zero levels of mercury in baby food. This

 recommendation is based, in part, on the fact that epidemiological research shows “mercury . . .

 has been consistently associated with adverse subsequent neuro-development.” 30

         E.       There Is No Safe Level of Perchlorate Consumption for Babies

         68.      Perchlorate is a neurotoxic chemical compound linked to critical growth and

 development functions in infants and young children. 31

         69.      While a guideline has not explicitly been set, the dangers of perchlorate in human

 food are recognized by the FDA. 32 The EPA has also recognized the dangers of perchlorate in

 drinking water and as of July 2020, has set the maximum contaminant level goal for perchlorate

 in drinking water to 56 μg/L. 85 F.R. 43990.




      28
         WHO, Mercury and health (https://www.who.int/news-room/fact-sheets/detail/mercury-and-
 health#:~:text=Health%20effects%20of%20mercury%20exposure&text=The%20inhalation%20of%20mercury%20
 vapour,induce%20kidney%20toxicity%20if%20ingested) (last visited on Mar. 19, 2021).
      29
         WHO, Lead Poisoning and Health https://www.who.int/news-room/fact-sheets/detail/lead-poisoning-and-
 health (last visited on Mar. 18, 2021).
      30
         Margaret R. Karagas, et al., Evidence on the Human Health Effects of Low-Level Methylmercury Exposure
 (June 1, 2012) (https://pubmed.ncbi.nlm.nih.gov/22275730/) (last visited on Mar. 18, 2021).
      31
         https://www.fda.gov/food/chemicals/perchlorate-questions-and-answers (last accessed Feb. 22, 2022).
      32
         FDA, Exploratory Survey Data on Perchlorate in Food 2004-2005,
      https://www.fda.gov/food/chemicals/exploratory-survey-data-perchlorate-food-2004-2005 (last accessed Feb.
 22, 2022) (“Human exposure to sufficient doses of perchlorate can interfere with iodide uptake into the thyroid
 gland, disrupting its functions and potentially leading to a reduction in the production of thyroid hormones.”).


                                                       19
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            70.   Perchlorate has also been “linked to IQ loss among children born to mothers with

 thyroid dysfunction[.]”33

 II.        DEFENDANT’S BABY FOOD PRODUCTS CONTAIN DANGEROUS LEVELS
            OF TOXIC HEAVY METALS AND/OR OTHER TOXINS.

            A.    Lead

            71.   The Congressional Report determined that Defendant manufactured and sold Baby

 Foods with lead levels exceeding all existing standards, including those set for juice and candy,

 which allow a maximum measurement of 50 ppb and 100 ppb respectively.

            72.   Defendant’s raw material testing revealed: (a) 6 ingredients contained more than

 200 ppb lead; (b) 88 ingredients contained more than 20 ppb lead; (c) 115 ingredients contained

 more than 15 ppb lead; and (d) 27% of ingredients contained more than 5 ppb lead.34

            B.    Arsenic

            73.   Based on Hain’s internal documents provided to the Congressional Subcommittee,

 Hain, indeed, routinely used ingredients with high levels of arsenic. Hain used brown rice flour

 that had tested at 309 ppb arsenic, a vitamin pre-mix containing 223 ppb arsenic, and raisin and

 wheat flour containing 200 ppb arsenic. The data provided further shows that Hain used at least

 24 ingredients after testing found that they contained more than 100 ppb arsenic. 35

            74.   The Congressional Report determined Defendant manufactured and sold its Baby

 Foods with levels exceeding all existing standard limits, including those set for juice and candy,

 which allow a maximum measurement of 50 ppb and 100 ppb, respectively. 36



       33
          See Healthy Babies Bright Futures’ Report: What’s in My Baby’s Food? (“HBBF Report”), available at
 https://www.healthybabyfood.org/sites/healthybabyfoods.org/files/2020-04/BabyFoodReport_ENGLISH_R6.pdf
 (last accessed Feb. 22, 2022).
       34
          Id. at pp. 26-27.
       35
          Id. at 16.
       36
          Id. at pp. 13-21.


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           75.    Hain’s testing differentiates between Total Arsenic and Inorganic Arsenic, with

 total arsenic levels exceeding 75 ppb and inorganic arsenic levels exceeding 90 ppb.

           C.     Cadmium

           76.    The Congressional Report determined Defendant manufactured and sold Baby

 Foods with levels exceeding all existing recommended limits.

           77.    Defendant does not test its finished products and instead only tests the ingredients

 used. Nevertheless, testing of Defendant’s ingredients proves that the company sold products with

 levels of cadmium that exceed the existing standards. Specifically, the results revealed: (a) 14

 ingredients contained more than 100 ppb cadmium, (b) barley flour contained 260 ppb cadmium

 and (c) 102 ingredients contained more than 20 ppb cadmium.37

           D.     Mercury

           78.    The Congressional Report found that Defendant does not test its ingredients or

 finished products for mercury. 38 Thus, while Hain products are suspected to contain mercury, there

 is no way for consumers to know at what level the dangerous toxin is present.

           E.     Perchlorate

           79.    The Congressional Report found that Defendant does not test its ingredients or

 finished products for perchlorate.39

           80.    However, in 2019, HBBF tested some of Defendant’s finished products and found

 perchlorate present. 40




      37
          Exhibit B at pp. 30-31; see also, Hain, Raw Material Pre-Shipment Test Data History (Dec. 11, 2019),
 attached hereto as Exhibit C.
       38
          Exhibit B at p. 32.
       39
          Id. at p. 32.
       40
          HBBF Report at 34-35.


                                                         21
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          F.     Defendant’s Own Documents Reveal That Its Baby Food Products Contain
                 Toxic Heavy Metals and/or other Toxins

          81.    Defendant disclosed documents to the Congressional Subcommittee to inform their

 review. 41 One of the documents disclosed was Defendant’s secret 2019 PowerPoint presentation

 to the FDA. Included within was results from testing the FDA conducted on finished product

 compared to the insufficient testing Defendant conducted raw materials alone. The results are

 glaring. The levels of Toxic Heavy Metal Inorganic Arsenic far exceeded the level in the raw

 materials 100% of the time.




     41
        The Congressional Subcommittee took the FDA, EPA, WHO, and European Union (“EU”) standards,
 discussed above, into account when making its determinations.


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                                           Hain Test Results          FDA Test Results            Increase of
                          FDA             for Arsenic in Raw            for Inorganic            Toxic Heavy
                      Standard for             Materials                  Arsenic in             Metal from
                       Arsenic in               (ppb)                  Finished Goods           Raw Materials
                        Drinking                                            (ppb)                to Finished
                      Water (ppb)         Packaging        Avg.       Best By      Avg.             Goods
                                             Date         Result        Date     Result
    Total                     -             9/8/17         56.3        3/2/19      80.3                43%
   Arsenic 42
                                            9/14/17         57.3        3/8/19        74.0             29%

                                           9/2617 –         61.3      3/20/19 –       96.0             57%
                                           9/27-17                     3/21/19
                                           10/18/17         59.0       4/11/19       100.0             69%

                                            11/3/17         67.0       4/27/19       129.0             93%

                                          12/13/17 –        62.7      6/6/19 –       101.0             61%
                                           12/20/17                   6/13/19
   Inorganic              10 ppb           1/3/2018         64.0      6/27/19        100.0             56%
    Arsenic
                                          1/25/2018         80.5       7/19/19       115.0             43%

                                          2/24/2018         75.7        8/8/19        97.0             28%

                                           6/1/2018         82.5      11/23/19       108.0             31%

           This data is derived from the chart provided in Hain’s Presentation to the FDA. 43




     42
          The FDA provides guidance for organic arsenic and inorganic arsenic separately as stated herein.
     43
          See Exhibit D, Hain Celestial PowerPoint “FDA Testing Result Investigation August 1, 2019”


                                                          23
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 III.    DEFENDANT REPEATEDLY FAILS TO REDUCE THE TOXIC HEAVY
         METALS AND/OR OTHER TOXINS IN ITS PRODUCTS

         A.       Hain Ignored Reports Highlighting the Presence of Toxic Heavy Metals
                  and/or other toxins for the Past Ten Years

         82.      For nearly a decade, Defendant has possessed medical and scientific data linking

 childhood exposure from Toxic Heavy Metals and/or other toxins to long-term and irreversible

 health and cognitive issues.

         83.      On December 6, 2017, Happy Babies Bright Futures issued a report finding rice-

 based infant cereals, including Defendant’s cereals, contained 84% more arsenic than non-rice

 multigrain products (“Arsenic Report”). 44 Notably, the HBBF Report found Toxic Heavy Metals

 and/or other toxins in the same Baby Foods at issue in this case, among others. For example, as

 listed below, Defendant’s “Earth’s Best” Whole Grain Rice Cereal contained significant levels of

 arsenic, lead, and cadmium. 45

         84.      Hain joined The Baby Food Council in 2019. This coalition joined major baby food

 manufacturers with U.S. Department of Agriculture (“USDA”), the FDA, and leading health and

 environmental experts in the field to increase the safety of baby food products in the U.S. 46

         85.      In part, The Baby Food Council formally focused on reducing dangerous Toxic

 Heavy Metals and/or other toxins in baby food products. 47

         86.      Expressing its commitment to reducing Toxic Heavy Metals and/or other toxins in

 its products, thereby acknowledging a problem and promising to fix the issue, Hain executive,



       44
          Healthy Babies Bright Futures, Arsenic in 9 Brands of Infant Cereal (Dec. 2017)
 (https://www.healthybabycereals.org/sites/healthybabycereals.org/files/2017-
 12/HBBF_ArsenicInInfantCerealReport.pdf) (last visited on Mar. 19, 2021).
       45
          HBBF Report at 19.
       46
          https://www.foodsafetynews.com/2019/10/coalition-called-the-baby-food-council-says-it-will-take-on-
 heavy-metals/
       47
          Id.


                                                        24
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 Raul Fajardo, Senior Vice President Technical Services, publicly stated: “Although heavy metals

 are naturally occurring in the environment, we are always looking to reduce their presence in food.

 Earth’s Best is excited to partner with the members of the Baby Food Council to support this

 important initiative.”48

              87.   However, Hain’s subsequent actions fall far short of this statement. Moreover, this

 statement fails to reveal the full truth of Hain’s production processes. Hain is not working to reduce

 the dangerous levels of Toxic Heavy Metals and/or other toxins in its products. In fact, it does not

 even have adequate data to rely on due to its arbitrary acceptable limits and inadequate testing

 procedures.

              B.    Hain Routinely Fails to Test Finished Products for Toxins

              88.   Defendant’s internal policies only require testing some raw materials and

 ingredients for some Toxic Heavy Metals and/or other toxins. Further, it does not even test its

 finished products.

              89.   Defendant does not conduct inorganic arsenic, mercury or perchlorate testing on its

 ingredients or finished products. The levels of these toxins are unknown.

              90.   As a result of never testing its finished products, Defendant has no record of the

 level of Toxic Heavy Metals and/or other toxins present in its products being sold in stores every

 day.

              C.    Hain Set Arbitrary and Inadequate Internal Specifications

              91.   The presence of Toxic Heavy Metals and/or other toxins, as indicated in ¶ 80, did

 not come as a shock to Hain. To the contrary, Defendant knew and set arbitrary internal

 specifications on allowable levels of Toxic Heavy Metals and/or other toxins in its products.



        48
             Id.


                                                    25
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        92.     Hain’s specifications are wholly unmoored from any scientific basis. Worse yet, its

 capricious specifications remain as is and, thus, are still unsafe, exceeding well-known FDA, EPA,

 WHO, and EU standards in other contexts.

        93.     Not only are Defendant’s internal specifications insufficient, but Defendant fails to

 abide by its own inadequate internal specifications. Ignoring its own limits, Hain sells products

 with concentrations above 200 ppb of arsenic, lead, or cadmium.

        D.      Hain Significantly Exceeded its Own Standards

        94.     Documents provided by Hain to the FDA in 2019 show Hain violated its own

 internal specifications by using ingredients containing as much as 353 ppb of lead and 309 ppb of

 arsenic. This testing further confirmed lead concentrations of up to 352 ppb in vitamin pre-mix.

 Hain also used at least six ingredients containing more than 200 ppb of lead, at least 88 ingredients

 containing 20 ppb of lead or more, and at least 115 ingredients containing 15 ppb of lead or more.

 Additionally, the testing demonstrated that at least 27% of its ingredients contained 5 ppb of lead

 or more. None of Defendant’s test results showed an ingredient with lead concentrations at or

 below 1 ppb.

        95.     Additionally, Hain’s limited ingredient testing showed concentrations of as much

 as 129 ppb of inorganic arsenic. Its ingredient testing also showed that Hain routinely used

 ingredients with high arsenic levels, including brown rice flour containing 309 ppb of arsenic, a

 vitamin pre-mix containing 223 ppb of arsenic, and raisin and wheat flour containing 200 ppb of

 arsenic. Hain used at least 24 ingredients known to contain more than 100 ppb of arsenic, such as

 flours, powders, extracts, and purees of various vegetables and grains.

        96.     Hain’s testing further revealed that it used many ingredients with dangerous

 cadmium concentrations, including 14 ingredients with over 100 ppb of cadmium (and up to 260

 ppb of cadmium), and at least 102 ingredients containing 20 ppb of cadmium or more.


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           97.     According to Hain’s internal raw material pre-shipment test data history, although

 the arsenic spec limit was 100 ppb and the lead spec limit was 100 ppb, it had a “deviation

 approved” for its vitamin premix after November 2019 lab results demonstrated 223 ppb arsenic

 and 352 ppb lead in this product.49

           98.     In fact, according to Hain’s internal documents, Hain approved a “deviation” for

 “Org Cinnamon Powder” where the cadmium spec limit was 100 ppb. The February 2019 lab

 result indicated 102 ppb cadmium in this product.

           99.     At times, Hain also arbitrarily changed its specifications to a “calculat[ion] [of]

 heavy metals on consumed basis,” meaning the Company tested for Toxic Heavy Metals and/or

 other toxins based on serving size, rather than the total for the product. For example, based on this

 changed specification, Hain accepted the following ingredients even though they exceeded the

 Company’s own internal allowable caps for Toxic Heavy Metals and/or other toxins: (i) June 2018

 lab results finding 102 ppb cadmium in “org[anic] oat flour” to a spec of 100 ppb cadmium; (ii)

 January 2018 thirteen lab results finding as much as 260 ppb cadmium and 250 ppb lead (to a spec

 of 100 ppb lead) in various products; and (iii) 2017 lab results finding levels of arsenic, cadmium,

 and lead exceeding the spec limits.

           100.    Internal documents show that Hain circumvents its own specifications by approving

 deviations or reinventing on what basis to analyze the results, often noting that instead levels were

 “calculated [] on consumed basis” where a particular Toxic Heavy Metal exceeded the arbitrary

 and unreasonably high pre-set standard.




     49
          See Exhibit C.


                                                   27
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 IV.    DEFENDANT’S ADVERTISEMENTS FALSELY CLAIM THAT ITS BABY
        FOODS ARE SAFE, AND FRAUDULENTLY OMIT ALL MATERIAL
        INFORMATION ABOUT TOXIC HEAVY METALS AND/OR OTHER TOXINS

        101.    Defendant’s marketing wrongfully represents that its Baby Food products are of a

 particular quality, grade or standard and contain certain characteristics that the products do not

 actually possess.

        102.    Additionally, Hain omits key information from its product labels regarding

 contaminants such as Toxic Heavy Metals and/or other toxins to parents’ detriment. By way of

 example, the following label for Whole Grain Rice Cereal demonstrates one of Hain’s many

 material omissions and misrepresentations:




        103.    Defendant’s label contains “Grown without Potentially Harmful Pesticides or

 Herbicides,” “No Genetically Engineered Ingredients,” “Organic,” and “Pure.” All of these

 statements build consumer trust in the safety of Hain products.




                                                28
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          104.     Defendant also touts its production of “pure, quality products.” This representation,

 among others, misleads consumers into believing that Hain’s Baby Food products do not contain

 Toxic Heavy Metals and/or other toxins.

          105.     Defendant further markets, advertises, represents, and warrants its products as safe

 and suitable for babies’ consumption and in compliance with FDA guidelines.

          106.     Defendant’s private August 2019 presentation to the FDA reveals Hain’s corporate

 policies to test only ingredients, not final products and admits that its testing results do not provide

 accurate data regarding the levels of arsenic in Defendant’s Baby Foods. 50 The Congressional

 Report stated in response:

                   That policy recklessly endangers babies and children and prevents
                   the companies from even knowing the full extent of the danger
                   presented by their products. As the Hain presentation lays bare,
                   ingredient testing does not work. Hain’s finished baby foods had
                   more arsenic than their ingredients 100% of the time—28-93% more
                   inorganic arsenic. That means that only testing ingredients gives
                   the false appearance of lower-than-actual toxic heavy metal
                   levels. 51

          107.     Despite repeated testing that confirms the presence of Toxic Heavy Metals and/or

 other toxins in Defendant’s Baby Foods and Defendant’s own admission that its products contain

 levels that far exceed safe levels, Defendant has failed to disclose any information to consumers

 or update its warning label. Instead, Defendant continues to falsely reassure its customers that its

 Baby Foods are safe.

          108.     For example, on its website Defendant touts:

                   Always exceeding the highest standards of safety and purity. Since
                   our very first jar of organic baby food was hand crafted nearly 35
                   years ago, we hold strong to our commitment to keep all Earth’s
                   Best foods safe – we reject ingredients annually because they do not

      50
         Hain, PowerPoint Presentation to Food and Drug Administration: FDA Testing Result Investigation (Aug.
 1, 2019) (https://oversight.house.gov/sites/democrats.oversight.house.gov/files/2.pdf), attached hereto as Exhibit D.
      51
         Exhibit B at pp. 56-57.


                                                          29
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                  meet our specifications. Along with our participation with the Baby
                  Food Council, the Hain Celestial Group is committed to the goals
                  of continuing to work toward minimizing exposure to
                  environmental contaminants associated with common baby food
                  commodities. 52

           109.   Hain intended that Plaintiffs and Class Members rely on these representations when

 purchasing its products.

           110.   Because Defendant’s internal records, internal testing requirements, and internal

 specifications were not known to the public, and further because Defendant’s product labels and

 advertisements omitted this material information, Plaintiffs and Class Members had no reason to

 know of the presence of Toxic Heavy Metals and/or other toxins in the Baby Food products.

           111.   Based on the prior reports Hain was aware of, Defendant’s internal testing protocols

 and internal specifications, Defendant knew or should have known of the presence of Toxic Heavy

 Metals and/or other toxins in its Baby Food products.

           112.   Yet, Defendant omitted this material information from its product labels, marketing

 materials, and advertisements.

           113.   Hain failed in its duty to ensure the truth of its product labels and advertisements.

           114.   Consumers reasonably rely upon Defendant’s statements, representations, and

 advertisements regarding the safety of its products. They would have no reason to suspect the

 presence of Toxic Heavy Metals and/or other toxins in Defendant’s Baby Foods or take necessary

 precautions.

           115.   Consumers reasonably rely upon Defendant’s statements, representations, and

 advertisements regarding the safety of its products. Consumers have no reason to suspect the




      52
         All You Need to Know About Earth’s Best Organic® Infant Cereal Ingredients,
 https://www.earthsbest.com/resource/about-iron-fortified-organic-infant-cereal-ingredients/


                                                         30
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 presence of Toxic Heavy Metals and/or other toxins in Defendant’s Baby Foods or take necessary

 precautions to protect themselves from consuming Toxic Heavy Metals and/or other toxins.

 V.        BABY FOODS CAN BE MANUFACTURED WITHOUT MEASURABLE
           LEVELS OF TOXIC HEAVY METALS AND/OR OTHER TOXINS

           A.     Other Baby Food Manufacturers Offer Safer Alternatives

           116.   In contrast to Hain, other baby food manufacturers have produced products free

 from Toxic Heavy Metals and/or other toxins or contaminants or with levels that are not

 measurable.

           117.   The Clean Label Project tests products for more than 400 contaminants, including

 heavy metals, chemicals, and plastics, and presents its Purity Award to companies with products

 with the lowest levels of the contaminants when compared to other products in a given category.53

           118.   Cerebelly, manufacturer of shelf-stable pureed baby food pouches and Once Upon

 a Farm, a manufacturer of cold-pressed, refrigerated blends for infants and children, were both

 recipients of the Clean Label Project’s Purity Award. 54

           119.   Nature’s One is another baby food manufacturer of organic pediatric nutritional

 products, including infant and toddler formulas, who received the Clean Label Project’s Purity

 Award. 55 According to independent laboratory tests, its products regularly test at zero for harmful

 contaminants. 56




      53
         https://cleanlabelproject.org/purity-award/ (last accessed Feb. 22, 2022);
      https://cleanlabelproject.org/Once%20Upon%20A%20Farm/ (last accessed Feb. 22, 2022).
      54
         https://www.foodnavigator-usa.com/Article/2021/02/08/Cerebelly-receives-The-Clean-Label-
      Project-Purity-Award-confirming-its-products-are-free-from-heavy-metals# (last accessed Feb. 22, 2022).
      55
         https://cleanlabelproject.org/Natures-one/ (last accessed Feb. 22, 2022).
      56
         Exclusive: As baby food industry is slow to reduce toxic metals, blueprint already exists | WJLA (last
 accessed on Feb. 22, 2022)


                                                         31
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           120.   Manufacturer, Yumi, also takes numerous proactive steps to ensure its products are

 safe for infants and children.57 Yumi does not use ingredients such as rice and fruit juice, both

 known to contain high levels of arsenic. 58 Yumi also regularly tests both the ingredients and

 finished products for Toxic Heavy Metals and/or other toxins.59

           B.     There Are Methods to Reduce Toxic Heavy Metals and/or other toxins to
                  Non-Worrisome Levels

           121.   “[T]here are ways for [baby food] manufacturers to significantly reduce or

 eliminate these [heavy] metals from their products.” 60 Consumer Reports identified baby food

 products with heavy metal levels low enough to not cause concern, as well as some products with

 heavy metal levels that were not measurable, and none were manufactured by Defendant. 61

           122.   In testing conducted by Consumer Reports, approximately one-third of tested

 products had levels of heavy metals that were below levels of concern and other products had

 immeasurable levels of heavy metals. 62 As stated by Dr. James E. Rogers, the Consumer Reports

 Director of Food Safety Research and Testing, “‘Every category of food we tested was represented

 in that lower-risk group. That indicates that there are ways for manufacturers to significantly

 reduce or eliminate these [heavy] metals from their products.’”63

           123.   In addition, as a result of public health efforts, exposure to lead has consistently

 and notably decreased over the past 40 years.64 These efforts include increasing awareness of the


      57
         https://helloyumi.com/heavy-metals/ (last accessed Feb. 22, 2022).
      58
         Id.
      59
         Id.
      60
         Id.
      61
         https://www.consumerreports.org/food-safety/heavy-metals-in-baby-food/ (last accessed Feb. 22, 2022)
      62
         Id.
      63
         Id.
      64
         Dignam, T., Kaufmann, R. B., LeStourgeon, L., & Brown, M. J. (2019). Control of Lead Sources in the
 United States, 1970-2017: Public Health Progress and Current Challenges to Eliminating Lead Exposure. Journal of
 public health management and practice: JPHMP, 25 Suppl 1, Lead Poisoning Prevention (Suppl 1 LEAD
                                                                                     Footnote continued on next page


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 dangers of even low levels of lead exposure to young children. 65 The progress towards decreasing

 childhood exposure to lead was so impressive that the CDC identified “childhood lead poisoning

 prevention as 1 of 10 great US public health achievements during 2001 to 2010.” 66

          124.      There are simple, inexpensive methods to reduce Toxic Heavy Metals and/or other

 toxins in food products. For example, the inorganic forms of arsenic, referred to as arsenite and

 arsenate, are water-soluble and found in rice.

                                       CLASS ACTION ALLEGATIONS

          125.      Plaintiffs Asyia Andrews, Jessie McNaughton, and Lisa Gans bring this action

 individually and on behalf of the following Class pursuant to Rule 23 of the Federal Rules of Civil

 Procedure:

                    Class: All persons who purchased the Baby Foods for household or
                    business use, and not for resale, during the period from February 5,
                    2015 to the present (the “Class Period”), while being residents of the
                    United States (the “Class”). 67

          126.      Plaintiff Lizette Romero Ortiz brings this action individually and on behalf of the

 following Subclass pursuant to Rules 23(a) and 23(b)(2) and (3) of the Federal Rules of Civil

 Procedure:

                    All persons who purchased the Baby Foods for household or
                    business use, and not for resale, during the period from February 5,
                    2015 to the present (the “Class Period”), while being residents of
                    California (the “California Subclass”).




 POISONING PREVENTION), S13–S22. Available at
 https://www.ncbi.nlm.nih.gov/pmc/articles/PMC6522252/#R6 (last accessed Feb. 22, 2022).
       65
          Id.
       66
          Id.
       67
          Plaintiffs reserve the right to re-define the Class definition prior to class certification and after having the
 opportunity to conduct discovery.


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        127.   Plaintiffs Lisa Gans and Zeynep Senturk Mannix bring this action individually and

 on behalf of the following Subclass pursuant to Rules 23(a) and 23(b)(2) and (3) of the Federal

 Rules of Civil Procedure:

               All persons who purchased the Baby Foods for household or
               business use, and not for resale, during the period from February 5,
               2015 to the present (the “Class Period”), while being residents of
               Washington D.C. (the “D.C. Subclass”).

        128.   Plaintiff Jade Huguenot brings this action individually and on behalf of the

 following Subclass pursuant to Rules 23(a) and 23(b)(2) and (3) of the Federal Rules of Civil

 Procedure:

               All persons who purchased the Baby Foods for household or
               business use, and not for resale, during the period from February 5,
               2015 to the present (the “Class Period”), while being residents of
               Indiana (the “Idaho Subclass”).

        129.   Plaintiff Cassie Isza brings this action individually and on behalf of the following

 Subclass pursuant to Rules 23(a) and 23(b)(2) and (3) of the Federal Rules of Civil Procedure:

               All persons who purchased the Baby Foods for household or
               business use, and not for resale, during the period from February 5,
               2015 to the present (the “Class Period”), while being residents of
               Indiana (the “Indiana Subclass”).

        130.   Plaintiff Shahalis Wilson brings this action individually and on behalf of the

 following Subclass pursuant to Rules 23(a) and 23(b)(2) and (3) of the Federal Rules of Civil

 Procedure:

               All persons who purchased the Baby Foods for household or
               business use, and not for resale, during the period from February 5,
               2015 to the present (the “Class Period”), while being residents of
               Kentucky (the “Kentucky Subclass”).

        131.   Plaintiff Bethany Nickerson brings this action individually and on behalf of the

 following Subclass pursuant to Rules 23(a) and 23(b)(2) and (3) of the Federal Rules of Civil

 Procedure:


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               All persons who purchased the Baby Foods for household or
               business use, and not for resale, during the period from February 5,
               2015 to the present (the “Class Period”), while being residents of
               Maine (the “Maine Subclass”).

        132.   Plaintiff Myjorie Philippe brings this action individually and on behalf of the

 following Subclass pursuant to Rules 23(a) and 23(b)(2) and (3) of the Federal Rules of Civil

 Procedure:

               All persons who purchased the Baby Foods for household or
               business use, and not for resale, during the period from February 5,
               2015 to the present (the “Class Period”), while being residents of
               Massachusetts (the “Massachusetts Subclass”).

        133.   Plaintiff Cassie Caldwell brings this action individually and on behalf of the

 following Subclass pursuant to Rules 23(a) and 23(b)(2) and (3) of the Federal Rules of Civil

 Procedure:

               All persons who purchased the Baby Foods for household or
               business use, and not for resale, during the period from February 5,
               2015 to the present (the “Class Period”), while being residents of
               Missouri (the “Missouri Subclass”).

        134.   Plaintiff Elena Thormahlen brings this action individually and on behalf of the

 following Subclass pursuant to Rules 23(a) and 23(b)(2) and (3) of the Federal Rules of Civil

 Procedure:

               All persons who purchased the Baby Foods for household or
               business use, and not for resale, during the period from February 5,
               2015 to the present (the “Class Period”), while being residents of
               Nevada (the “Nevada Subclass”).

        135.   Plaintiff Carolyn Leary brings this action individually and on behalf of the

 following Subclass pursuant to Rules 23(a) and 23(b)(2) and (3) of the Federal Rules of Civil

 Procedure:

               All persons who purchased the Baby Foods for household or
               business use, and not for resale, during the period from February 5,



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               2015 to the present (the “Class Period”), while being residents of
               New Hampshire (the “New Hampshire Subclass”).

        136.   Plaintiff Asyia Andrews brings this action individually and on behalf of the

 following Subclass pursuant to Rules 23(a) and 23(b)(2) and (3) of the Federal Rules of Civil

 Procedure:

               All persons who purchased the Baby Foods for household or
               business use, and not for resale, during the period from February 5,
               2015 to the present (the “Class Period”), while being residents of
               New Jersey (the “New Jersey Subclass”).

        137.   Plaintiff Helen Howard brings this action individually and on behalf of the

 following Subclass pursuant to Rules 23(a) and 23(b)(2) and (3) of the Federal Rules of Civil

 Procedure:

               All persons who purchased the Baby Foods for household or
               business use, and not for resale, during the period from February 5,
               2015 to the present (the “Class Period”), while being residents of
               North Carolina (the “North Carolina Subclass”).

        138.   Plaintiff Tanya Motsay brings this action individually and on behalf of the

 following Subclass pursuant to Rules 23(a) and 23(b)(2) and (3) of the Federal Rules of Civil

 Procedure:

               All persons who purchased the Baby Foods for household or
               business use, and not for resale, during the period from February 5,
               2015 to the present (the “Class Period”), while being residents of
               Pennsylvania (the “Pennsylvania Subclass”).

        139.   Plaintiff Amanda Roman brings this action individually and on behalf of the

 following Subclass pursuant to Rules 23(a) and 23(b)(2) and (3) of the Federal Rules of Civil

 Procedure:

               All persons who purchased the Baby Foods for household or
               business use, and not for resale, during the period from February 5,
               2015 to the present (the “Class Period”), while being residents of
               Rhode Island (the “Rhode Island Subclass”).



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        140.    Plaintiffs Stephanie Weimer and Simone Craig bring this action individually and

 on behalf of the following Subclass pursuant to Rules 23(a) and 23(b)(2) and (3) of the Federal

 Rules of Civil Procedure:

                All persons who purchased the Baby Foods for household or
                business use, and not for resale, during the period from February 5,
                2015 to the present (the “Class Period”), while being residents of
                Virginia (the “Virginia Subclass”).

        141.    Plaintiff Monica Hazelwood brings this action individually and on behalf of the

 following Subclass pursuant to Rules 23(a) and 23(b)(2) and (3) of the Federal Rules of Civil

 Procedure:

                All persons who purchased the Baby Foods for household or
                business use, and not for resale, during the period from February 5,
                2015 to the present (the “Class Period”), while being residents of the
                state of Washington (the “Washington Subclass”).

        142.    Excluded from the Class and each Subclass are: (1) any Judge or Magistrate

 presiding over this action, any members of their immediate families, and any of their staff; (2) the

 Defendant, Defendant’s subsidiaries, affiliates, parents, successors, predecessors, any entities in

 which the Defendant has a controlling interest, and their current or former employees, officers,

 and directors from February 5, 2015 to present; and (3) Plaintiffs’ counsel and Defendant’s

 counsel.

        143.    Numerosity (Rule 23(a)(1)): The exact number of members of the Class is

 unknown and currently unavailable to Plaintiffs, but joinder of individual members herein is

 impractical. The Class is likely comprised of hundreds of thousands of consumers. Sales figures

 indicate that millions of individuals purchased Defendant’s Baby Foods. The precise number of

 Class members, and their addresses, is unknown to Plaintiffs at this time, but can be ascertained

 from Defendant’s records and/or retailer records. The members of the Class may be notified of the




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 pendency of this action by mail or email, internet postings and/or publications, and supplemented

 (if deemed necessary or appropriate by the Court) by published notice.

        144.   Predominant Common Questions (Rule 23(a)(2)): The Classes claims present

 common questions of law and fact, and those questions predominate over any questions that may

 affect individual Class members. The common and legal questions include, without limitation:

               a.    Whether Defendant knew or should have known that its Baby Foods

                     contained Toxic Heavy Metals and/or other toxins that rendered Defendant’s

                     Baby Foods unsafe for babies;

               b.    Whether Defendant wrongfully represented and continues to represent that

                     its Baby Foods are safe for babies’ consumption;

               c.    Whether Defendant’s representations, advertisements, warranties, labeling,

                     packaging, and logos are false, deceptive, and misleading;

               d.    Whether Defendant had knowledge that those representations were likely to

                     deceive a reasonable consumer;

               e.    Whether Defendant had knowledge that those representations were false,

                     deceptive, or misleading;

               f.    Whether Defendant continued to disseminate those false, misleading, and

                     deceptive representations;

               g.    Whether Defendant failed to warn and disclose material facts regarding its

                     Baby Foods and concealed internal testing results revealing dangerous levels

                     of arsenic, lead, cadmium, mercury, and other heavy metals that are unsafe

                     for babies;




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                h.   Whether Defendant’s testing showed that Defendant’s products contained

                     Toxic Heavy Metals and/or other toxins;

                i.   Whether Defendant violated the state consumer protection statutes alleged

                     herein;

                j.   Whether Defendant was unjustly enriched; and

                k.   The nature of relief, including damages and equitable relief, to which

                     Plaintiffs and members of the Classes are entitled.

         145.   Typicality of Claims (Rule 23(a)(3)): Plaintiffs’ claims are typical of the claims

 of the Class because Plaintiffs, like all other Class members, purchased Defendant’s Baby Foods,

 suffered damages as a result of that purchase, and seeks the same relief as the proposed Class

 members.

         146.   Adequacy of Representation (Rule 23(a)(4)): Plaintiffs adequately represent the

 Class because their interests do not conflict with the interests of the members of the Class, and

 they have retained counsel competent and experienced in complex class action and consumer

 litigation.

         147.   Plaintiffs and their counsel will fairly and adequately protect the interests of the

 members of the Classes.

         148.   Superiority (Rule 23(b)(3)): A class action is superior to other available means of

 adjudication for this controversy. It would be impracticable for members of the Class to

 individually litigate their own claims against Defendant because the damages suffered by Plaintiffs

 and the members of the Classes are relatively small compared to the cost of individually litigating

 their claims. Individual litigation would create the potential for inconsistent judgments and delay




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 and expenses to the court system. A class action provides an efficient means for adjudication with

 fewer management difficulties and comprehensive supervision by a single court.

                                        Declaratory Relief
                                 (Fed. R. Civ. P. 23(b)(1) and (2))

        149.    In the alternative, this action may properly be maintained as a class action because:

                a.   the prosecution of separate actions by individual members of the Class

                     would create a risk of inconsistent or varying adjudication with respect to

                     individual Class members, which would establish incompatible standards of

                     conduct for Defendant; or

                b.   the prosecution of separate actions by individual Class members would

                     create a risk of adjudications with respect to individual members of the Class

                     which would, as a practical matter, be dispositive of the interests of other

                     members of the Class not parties to the adjudications, or substantially impair

                     or impede their ability to protect their interests; or

                c.   Defendant has acted or refused to act on grounds generally applicable to the

                     Class, thereby making appropriate final injunctive or corresponding

                     declaratory relief with respect to the Class as a whole.

                           Issue Certification (Fed. R. Civ. P. 23(c)(4))

        150.    In the alternative, the common questions of fact and law, set forth in Paragraph 74

 are appropriate for issue certification on behalf of the proposed Class.




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                                       CAUSES OF ACTION

                                          COUNT I
                            BREACH OF EXPRESS WARRANTY
 (On behalf of Plaintiffs Asyia Andrews, Jessie McNaughton, Lisa Gans, and the Class against
                                          Defendant)

         151.    Plaintiffs incorporate by reference all allegations in this Complaint and restate them

 as if fully set forth herein.

         152.    Plaintiffs bring this claim on behalf of themselves and members of the Class.

         153.    Express warranties by sellers of consumer goods are created when an affirmation

 of fact or promise is made by the seller to the buyer, which relates to the goods and becomes the

 basis of the bargain. Such warranties can also be created based upon descriptions of the goods

 which are made as part of the basis of the bargain that the goods shall conform to the description.

         154.    Plaintiffs and members of the Class formed a contract with the Defendant at the

 time they purchased Defendant’s Baby Foods. The terms of that contract included the promises

 and affirmations of fact that Defendant made through its product labels, through other forms of

 uniform, nationwide marketing, its website, and on social media. Among other affirmations of fact

 and promises described herein, Defendant represented that its Baby Foods were and are safe,

 healthy, and appropriate for infant or child consumption.

         155.    These affirmations of facts and promises, which are part of Defendant’s uniform

 marketing, advertising, and product labeling, constitute express warranties and became part of the

 basis of the bargain, and they are part of the standardized contracts between Plaintiffs and members

 of the Class on the one hand, and the Defendant, on the other.

         156.    Contrary to these affirmations of fact and promises, Defendant’s Baby Foods did

 not and do not contain food or beverages that are safe, healthy, and appropriate for infant or child




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 consumption as described on the product labels or in Defendant’s marketing and advertising

 campaign.

        157.    Defendant breached the express warranties and/or contract obligations by placing

 these Baby Foods into the stream of commerce and selling them to consumers, when they have

 dangerous levels of Toxic Heavy Metals and/or other toxins, and can cause toxicity or adverse

 health implications, rendering these products unfit for their intended use and purpose, and unsafe

 and unsuitable for consumer use as marketed by Defendant. The high levels of Toxic Heavy Metals

 and/or other toxins substantially impair the use, value, and safety of Defendant’s Baby Foods.

        158.    At all times relevant herein, Defendant was aware, or should have been aware, of

 Toxic Heavy Metals and/or other toxins in Defendant’s Baby Foods. Defendant was on notice of

 these concerns with its products, but nowhere on the package labeling or on Defendant’s website

 or other marketing materials did Defendant warn Plaintiffs and members of the Class that they

 were at risk of feeding their children food with levels of Toxic Heavy Metals and/or other toxins

 that exceed the standards set by federal agencies or recommended by other organizations.

        159.    Instead, Defendant concealed the high levels of Toxic Heavy Metals and/or other

 toxins contained in its Baby Foods and deceptively represented that these products were safe,

 healthy, and appropriate for infant or child consumption. Defendant, thus, utterly failed to ensure

 that the material representations it was making to consumers were true.

        160.    The toxic and/or dangerous levels of Toxic Heavy Metals and/or other at issue in

 Defendant’s Baby Foods existed when they left Defendant’s possession or control and were sold

 to Plaintiffs and members of the Class. The levels of Toxic Heavy Metals and/or other toxins

 contained in the Defendant’s Baby Foods were undiscoverable by Plaintiffs and members of the

 Class at the time of purchase of Defendant’s Baby Foods.




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        161.      As a manufacturer, marketer, advertiser, distributor, and seller of Defendant’s Baby

 Foods, Defendant has exclusive knowledge and notice of the fact that these products did not

 conform to the affirmations of fact and promises.

        162.      In addition, or in the alternative, to the formation of an express contract, Defendant

 made each of the above-described representations to induce Plaintiffs and members of the Class

 to rely on such representations.

        163.      Defendant’s affirmations of fact and promises were material, and Plaintiffs and

 members of the Class reasonably relied upon such representations in purchasing the Defendant’s

 Baby Foods.

        164.      Defendant was provided with notice by the numerous consumer class action

 complaints filed against it. Affording Defendant an opportunity to cure its breaches of written

 warranties would be unnecessary and futile here. Defendant was placed on reasonable notice of

 the levels of Toxic Heavy Metals and/or other toxins in Defendant’s Baby Foods and breach of the

 warranties based on its scientific research and expertise in the food production industry. Defendant

 has had ample opportunity to cure the high levels of Toxic Heavy Metals and/or other toxins in its

 Baby Foods to render them safe and healthy for consumption by Plaintiffs and members of the

 putative classes and their children but has failed to do so.

        165.      Defendant has also had notice of its breach as set forth herein by virtue of the recent

 Congressional investigation into this matter and the prior 2019 report issued by Healthy Babies

 Bright Future.

        166.      As a direct and proximate result of Defendant’s breaches of express warranty,

 Plaintiffs and members of the Class have been damaged because they did not receive the products

 as specifically warranted by Defendant. Plaintiffs and members of the Class did not receive the




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 benefit of the bargain and suffered damages at the point of sale stemming from their overpayment

 of Defendant’s Baby Foods.

                                          COUNT II
            BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
 (On behalf of Plaintiffs Asyia Andrews, Jessie McNaughton, Lisa Gans, and the Class against
                                          Defendant)

         167.    Plaintiffs incorporate by reference all allegations in this Complaint and restate them

 as if fully set forth herein.

         168.    Plaintiffs bring this claim on behalf of themselves and members of the Class.

         169.    Defendant is a merchant engaging in the sale of goods to Plaintiffs and members of

 the Class.

         170.    There was a sale of goods from Defendant to Plaintiffs and members of the Class.

         171.    Defendant’s Baby Foods were sold to Plaintiffs and members of the Class

 purchased Defendant’s Baby Foods from authorized resellers of Defendant’s Baby Foods.

         172.    By placing Defendant’s Baby Foods into the stream of commerce, Defendant

 impliedly warranted to Plaintiffs and members of the Class that Defendant’s Baby Foods were of

 merchantable quality (i.e., a product of high-enough quality to make it fit for sale, usable for the

 purpose it was made, of average worth in the marketplace, or not contaminated or flawed or

 containing a defect affecting the safety of the product), would pass without objection in the trade

 or business, and were free from material defects, and reasonably fit for the use for which they were

 intended.

         173.    Defendant’s products when sold, and at all times thereafter, were not merchantable

 or reasonably fit for either the use they were intended or the uses reasonably foreseeable by

 Defendant.




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        174.       Defendant breached the implied warranty of merchantability because Defendant’s

 Baby Foods suffer from the presence of Toxic Heavy Metals and/or other toxins, such as arsenic,

 lead, cadmium, and mercury, which have the propensity to cause health complications, rendering

 them unfit for their intended use and purpose as baby and/or children’s food and beverages. The

 level of Toxic Heavy Metals and/or other toxins substantially impairs the use, value, and safety of

 these products.

        175.       The toxic and/or dangerous levels of heavy metals existed when the Defendant’s

 Baby Foods left Defendant’s possession or control and were sold to Plaintiffs and members of the

 putative classes. The amounts of Toxic Heavy Metals and/or other toxins contained in Defendant’s

 Baby Foods were undiscoverable by Plaintiffs and members of the putative classes at the time of

 their purchase.

        176.       As described herein, Defendant advertised on its Baby Foods labels, on its website,

 and through a national advertising campaign, among other means, that Defendant’s Baby Foods

 were and are safe and appropriate for infant and child consumption.

        177.       Contrary to these representations, Defendant’s Baby Foods possessed dangerous

 levels of Toxic Heavy Metals and/or other toxins which were not revealed on Defendant’s Baby

 Foods, product labels, or in Defendant’s marketing and advertising campaigns. Rather,

 Defendant’s Baby Foods are unsafe because they have dangerous levels of Toxic Heavy Metals

 and/or other toxins. The Baby Foods are unsafe and unsuitable for consumer use as marketed by

 Defendant. Defendant has exclusive knowledge of material facts concerning the defective nature

 of Defendant’s Baby Foods.

        178.       Plaintiffs and members of the Class, at all relevant times, were intended third-party

 beneficiaries of Defendant and its agents in the distribution and sale of Defendant’s Baby Foods.




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 Moreover, Defendant exercises substantial control over which outlets can carry and sell

 Defendant’s Baby Foods, which are the same places that Plaintiffs and members of the Class

 purchased them. In addition, Defendant’s warranties are in no way designed to apply to the

 distributors that purchase these products in bulk and then sell them on an individual basis to each

 consumer. Individual consumers are the ones who ultimately review the labels prior to making

 their purchasing decisions. As a result, these warranties are specifically designed to benefit the

 individual consumers who purchase Defendant’s Baby Foods.

        179.    Plaintiffs and members of the Class sustained damages as a direct and proximate

 result of Defendant’s breaches insofar as they paid a premium for Defendant’s Baby Foods that

 they would not have otherwise paid had they known that Defendant’s Baby Foods contained

 dangerous levels of Toxic Heavy Metals and/or other toxins.

        180.    Plaintiffs and members of the Class did not receive the value of the product they

 paid for. The products are worthless or worth far less than Defendant represents due to the presence

 of Toxic Heavy Metals and/or other toxins contained therein which have the propensity to cause

 adverse health implications.

        181.    Plaintiffs and members of the Class have sustained, are sustaining, and will sustain

 damages if Defendant continues to engage in such deceptive, unfair, and unreasonable practices.

        182.    Defendant was provided with notice by the numerous consumer class action

 complaints filed against it. Affording Defendant an opportunity to cure its breaches of written

 warranties would be unnecessary and futile here.

        183.    Defendant was also placed on reasonable notice of the high levels of Toxic Heavy

 Metals and/or other toxins contained in Defendant’s Baby Foods and its breach of the warranties

 based on its own research into food processing and sourcing, as well as a recent Congressional




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 investigation on the matter. Defendant has had ample opportunity to cure the dangerous levels of

 Toxic Heavy Metals and/or other toxins for Plaintiffs and members of the Class but have failed to

 do so. Instead, Defendant doubled down on efforts to convince consumers that its Baby Foods are

 safe to consume and healthy for babies and children, including public statements denying that there

 are any issues with its Baby Foods.

          184.   As a result of the breach of the implied warranty of merchantability, Plaintiffs and

 members of the Class are entitled to legal and equitable relief including damages, costs, attorneys’

 fees, rescission, and other relief as deemed appropriate, for an amount to compensate them for not

 receiving the benefit of their bargain.

                                          COUNT III
                           NEGLIGENT MISREPRESENTATION
 (On behalf of Plaintiffs Asyia Andrews, Jessie McNaughton, Lisa Gans, and the Class against
                                          Defendant)

          185.   Plaintiffs incorporate by reference all allegations in this Complaint and restate them

 as if fully set forth herein.

          186.   Plaintiffs bring this claim on behalf of themselves and the Class.

          187.   Defendant directly, or through its agents and employees, made false

 representations, concealments, and non-disclosures to Plaintiffs and members of the Class about

 its products’ safety and testing.

          188.   Defendant       intentionally,   knowingly,    and/or    recklessly    made     these

 misrepresentations to induce Plaintiffs and members of the Class to purchase Defendant’s Baby

 Foods.

          189.   In making these false, misleading, and deceptive representations and omissions,

 Defendant knew that consumers would purchase its products. Defendant intended for these

 statements to induce consumers to purchase its Baby Foods. Consumers who purchased



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 Defendant’s Baby Foods paid a premium for these products over what consumers would have paid

 had Defendant disclosed that its Baby Foods contained dangerous levels of Toxic Heavy Metals

 and/or other toxins.

        190.     Defendant created a special relationship with Plaintiffs and members of the Class

 through representations regarding its products’ safety and the Defendant’s rigorous, scientific

 testing and research.

        191.     As an immediate, direct, and proximate result of Defendant’s false, misleading, and

 deceptive statements, representations, and omissions, Defendant injured Plaintiffs and members

 of the Class in that they purchased, paid a premium price for, and fed their children the Baby

 Foods, which were not as represented.

        192.     In making the misrepresentations of fact and omissions to Plaintiffs and members

 of the Class, Defendant has failed to fulfill its duty to disclose material facts about its Baby Foods.

        193.     The failure to disclose the true nature of the products’ safety, testing, and

 compliance with internal safety thresholds was caused by Defendant’s negligence and

 carelessness.

        194.     Defendant, in making these misrepresentations and omissions, and in doing the acts

 alleged above, knew or reasonably should have known that the misrepresentations were not true.

        195.     Defendant made and intended the misrepresentations to induce the reliance of

 Plaintiffs and Class members.

        196.     Defendant allowed its packaging, labels, advertisements, promotional materials,

 and website to intentionally mislead consumers, such as Plaintiffs and members of the Class.

        197.     Plaintiffs and members of the Class did in fact rely on these misrepresentations and

 purchased Defendant’s Baby Food to their detriment. Given the deceptive manner in which




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 Defendant advertised, represented, and otherwise promoted the Baby Foods, Plaintiffs and

 members of the Class’s reliance on Defendant’s misrepresentations was justifiable.

         198.    As a direct and proximate result of Defendant’s conduct, Plaintiffs and members of

 the Class have suffered actual damages. Plaintiffs and members of the Class purchased products

 that are worth less than the price they paid, and they would not have purchased Defendant’s Baby

 Foods, would have bought less of the Baby Foods, or would have paid less for the Baby Foods had

 they known of the presence, or risk of the presence of Toxic Heavy Metals and/or other toxins in

 the Baby Foods that do not conform to the products’ labels, packaging, advertising, and statements.

         199.     Plaintiffs and members of the Class seek actual damages, injunctive and

 declaratory relief, attorneys’ fees, costs, and any other just and proper relief available.

                                          COUNT IV
        VIOLATIONS OF THE NEW YORK GENERAL BUSINESS LAW § 349
 (On behalf of Plaintiffs Asyia Andrews, Jessie McNaughton, Lisa Gans, and the Class against
                                          Defendant)

         200.    Plaintiffs incorporate by reference all allegations in this Complaint and restate them

 as if fully set forth herein.

         201.    New York General Business Law Section 349(a) (“Gen. Bus. Law § 349”) declares

 unlawful “[d]eceptive acts or practices in the conduct of any business, trade or commerce or in the

 furnishing of any service in this state.”

         202.    Plaintiffs and the Class members are “person[s]” within the meaning of N.Y. Gen.

 Bus. Law § 349(h).

         203.    Defendant is a “person, firm, corporation or association” within the meaning of

 N.Y. Gen. Bus. Law § 349(b).

         204.    The conduct alleged herein constitutes recurring, “unlawful” deceptive acts and

 practices in violation of Gen. Bus. Law § 349, and as such, Plaintiff and the Class seek monetary



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 damages and the entry of preliminary and permanent injunctive relief against Defendant, enjoining

 it from inaccurately describing, labeling, marketing, and promoting its Baby Foods. There is no

 adequate remedy at law. Defendant misleadingly, inaccurately, and deceptively marketed its Baby

 Foods to consumers as safe and concealed information about the presence of Toxic Heavy Metals

 and/or other toxins, including levels that exceed FDA and EPA guidance.

          205.   Defendant made affirmative misrepresentations to Plaintiff and members of the

 Class that Defendant’s Baby Foods were safe and suitable for consumption. Defendant, however,

 concealed, and suppressed material facts concerning Defendant’s Baby Foods, including that

 Defendant’s Baby Foods were unsafe and unsuitable for babies; that they contained Toxic Heavy

 Metals and/or other toxins; the level of the Toxic Heavy Metals and/or other toxins; that internal

 testing showed that Defendant’s Baby Foods contained Toxic Heavy Metals and/or other toxins;

 and that Defendant’s policies permitted the sale of products with harmful levels of Toxic Heavy

 Metals and/or other toxins.

          206.   Defendant had an ongoing duty to Plaintiffs and members of the Class to refrain

 from unfair and deceptive practices. Specifically, Defendant owed Plaintiffs and Class members a

 duty to disclose all the material facts regarding Defendant’s Baby Foods, including that such

 products contained unsafe levels of Toxic Heavy Metals and/or other toxins because Defendant

 possessed exclusive knowledge, intentionally concealed the facts regarding Baby Foods, including

 that such products contained unsafe levels of Toxic Heavy Metals and/or other toxins and/or made

 misrepresentations that were rendered misleading because they were contradicted by withheld

 facts.

          207.   Plaintiffs and members of the Class had no way of discerning that Defendant’s

 representations were false and misleading because members of the Class did not have access to




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 Defendant’s internal testing, internal policies, or any internal documents showing the presence of

 harmful heavy metals.

          208.   Defendant thus violated Gen. Bus. Law § 349 by making statements that when

 considered from the perspective of the reasonable consumer conveyed that Defendant’s Baby

 Foods were safe and suitable for babies. Defendant failed to disclose or warn that Defendant’s

 Baby Foods were unsafe and unsuitable for children, that they contained Toxic Heavy Metals

 and/or other toxins, the levels of the Toxic Heavy Metals and/or other toxins, that internal testing

 showed that the products contained harmful Toxic Heavy Metals and/or other toxins, and that

 Defendant’s policies permitted the sale of products with harmful levels of Toxic Heavy Metals

 and/or other toxins. Defendant intentionally and knowingly made affirmative misrepresentations

 and failed to disclose material facts regarding the Defendant’s Baby Foods with intent to mislead

 Class members. Defendant knows or should have known that its conduct violated Gen. Bus. Law

 § 349.

          209.   Defendant owed Plaintiffs and the Class a duty to disclose the true and unsafe

 nature of the Defendant’s Baby Foods.

          210.   Defendant’s concealment of the true characteristics of the Defendant’s Baby Foods

 was material to Plaintiff and members of the Class.

          211.   Defendant’s unfair or deceptive acts or practices were likely to and did in fact

 deceive regulators and reasonable consumers, including Plaintiffs and members of the Class, about

 the true nature of Defendant’s Baby Foods.

          212.   Plaintiffs and members of the Class would not have purchased Defendant’s Baby

 Foods, would have bought less of the Baby Foods, or would have paid less for the Baby Foods,

 had they known that the products were unsafe and unsuitable for babies, that they contained Toxic




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 Heavy Metals and/or other toxins, the levels of Toxic Heavy Metals and/or other toxins, that

 Defendant’s testing showed that Defendant’s Baby Foods contained Toxic Heavy Metals and/or

 other toxins, or that Defendant’s policies permitted the sales of products with harmful levels of

 Toxic Heavy Metals and/or other toxins.

         213.       Defendant’s violations present a continuing risk to Plaintiff and the Class as well

 as to the general public. Defendant’s unlawful acts and practices complained of herein affect the

 public interest.

         214.       Plaintiffs and members of the Class suffered ascertainable loss and actual damages

 as a direct and proximate result of Defendant’s misrepresentations and concealment of and failure

 to disclose material information. Defendant had an ongoing duty to all customers and the public

 to refrain from unfair and deceptive practices.

         215.       Defendant’s advertising and products’ packaging and labeling induced Plaintiffs

 and members of the Class to buy Defendant’s products and to pay a premium price for them.

         216.       Defendant’s deceptive and misleading practices constitute a deceptive act and

 practice in the conduct of business in violation of New York General Business Law § 349(a), and

 Plaintiffs and the Class have been damaged thereby.

         217.       As a result of Defendant’s recurring, unlawful deceptive acts and practices,

 Plaintiffs and members of the Class are entitled to monetary, compensatory, treble, and punitive

 damages, injunctive relief, restitution, and disgorgement of all moneys obtained by means of

 Defendant’s unlawful conduct, interest, attorneys’ fees and costs, and an order enjoining

 Defendant’s deceptive and unfair conduct, and all other just and appropriate relief available under

 the statute.




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                                          COUNT V
      VIOLATIONS OF THE NEW YORK DECEPTIVE SALES PRACTICE ACT
                            New York Gen. Bus. Law § 350, et seq.
 (On behalf of Plaintiffs Asyia Andrews, Jessie McNaughton, Lisa Gans, and the Class against
                                          Defendant)

         218.    Plaintiff incorporates by reference all allegations in this Complaint and restate them

 as if fully set forth herein.

         219.    N.Y. Gen. Bus. Law § 350 provides, in part, that “[f]alse advertising in the conduct

 of any business, trade or commerce or in the furnishing of any service in this state is hereby

 declared unlawful.”

         220.    N.Y. Gen. Bus. Law § 350(a)(1) provides, in part, as follows:

                 The term “false advertising” means advertising, including labeling,
                 of a commodity, or of the kind, character, terms or conditions of any
                 employment opportunity if such advertising is misleading in a
                 material respect. In determining whether any advertising is
                 misleading, there shall be taken into account (among other things)
                 not only representations made by statement, word, design, device,
                 sound or any combination thereof, but also the extent to which the
                 advertising fails to reveal facts material in the light of such
                 representations with respect to the commodity or employment to
                 which the advertising relates under the conditions proscribed in said
                 advertisement, or under such conditions as are customary or usual.

         221.    Defendant made statements and omissions that were untrue or misleading.

 Defendant disseminated such statements through New York. Defendant disseminated such

 statements and omissions through advertising, marketing, and other publications. Defendant knew

 or through the exercise of reasonable care should have known that such statements and omissions

 were untrue and misleading.

         222.    Defendant’s labeling and advertisements contain untrue and materially misleading

 statements and omissions regarding the safety of Defendant’s Baby Foods.

         223.    Defendant made numerous material and affirmative misrepresentations and

 omissions of fact with intent to mislead and deceive concerning Defendant’s Baby Foods,


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 particularly concerning their unsafe nature. Specifically, Defendant intentionally concealed and

 suppressed material facts concerning Defendant’s Baby Foods, namely, that they were unsafe and

 unsuitable for babies, that they contained Toxic Heavy Metals and/or other toxins, that Defendant’s

 testing showed that its products contained Toxic Heavy Metals and/or other toxins, and that

 Defendant’s policies permitted the sale of products with Toxic Heavy Metals and/or other toxins.

 Defendant intentionally and grossly defrauded and misled Class members concerning the true and

 unsafe nature of Defendant’s Baby Foods.

        224.    Defendant made untrue and misleading statements and representations willfully,

 wantonly, and with reckless disregard for the truth.

        225.    Defendant’s conduct constitutes multiple, separate violations of N.Y. Gen. Bus.

 Law § 350 as stated in ¶ 224.

        226.    Defendant made the material misrepresentations described in this Complaint in

 Defendant’s advertising, and on the products’ packaging and labeling.

        227.    Defendant’s material misrepresentations were substantially uniform in content,

 presentation, and impact upon consumers at large. Moreover, all consumers purchasing the

 products for purposes of consumption were and continue to be exposed to Defendant’s material

 misrepresentations and omissions.

        228.    Plaintiff and members of the Class would not have purchased Defendant’s Baby

 Foods, would have bought less of the Baby Foods, or would have paid less for the Baby Foods,

 had they known that the products were unsafe and unsuitable for babies, that they contained Toxic

 Heavy Metals and/or other toxins, the levels of Toxic Heavy Metals and/or other toxins they

 contained, that Defendant’s testing showed that its products contained Toxic Heavy Metals and/or




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 other toxins, or that Defendant’s policies permitted the sales of products with harmful levels of

 Toxic Heavy Metals and/or other toxins.

         229.    Defendant’s violation presents a continuing risk to Plaintiff and members of the

 Class. Defendant’s deceptive acts and practices affect the public interest.

         230.    Plaintiff and members of the Class have suffered injury-in-fact and/or actual

 damages and ascertainable loss as a direct and proximate result of the Defendant’s violation.

         231.    The Class members seek monetary relief against Defendant measured as the greater

 of (a) actual damages in an amount to be determined at trial, and (b) statutory damages in the

 amount of $500 for each Class member, and because Defendant’s conduct was committed

 willingly and knowingly, Class members are entitled to recover three times actual damages, up to

 $10,000. The Class also seeks an order enjoining Defendant’s false advertising, attorneys’ fees,

 and any other just and proper relief under N.Y. Gen. Bus. Law § 350.

                                          COUNT VI
                                   UNJUST ENRICHMENT
   (On behalf of the Plaintiffs Asyia Andrews, Jessie McNaughton, Lisa Gans, and the Class
                                       against Defendant)

         232.    Plaintiffs incorporate by reference all allegations in this Complaint and restate them

 as if fully set forth herein.

         233.    Plaintiffs bring this claim on behalf of themselves and the Class.

         234.    Plaintiffs and the other members of the Class conferred benefits on Defendant by

 purchasing the Defendant’s Baby Foods.

         235.    Defendant received the benefits to the detriment of Plaintiffs and the other members

 of the Class because Plaintiffs and the other members of the Class purchased a mislabeled product

 that is not what they bargained for and did not provide the advertised benefit.




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         236.    Defendant has been unjustly enriched in retaining the revenues derived from the

 purchases of Defendant’s Baby Foods by Plaintiffs and the other members of the Class. Retention

 of those monies under these circumstances is unjust and inequitable because Defendant’s labeling

 of the Baby Foods was misleading to consumers, which caused injuries to Plaintiffs and the other

 members of the Class, because they would not have purchased Defendant’s Baby Foods, would

 have bought less of the products, or would have paid less for the products had they known that

 they contained dangerous levels of Toxic Heavy Metals and/or other toxins.

         237.    Because Defendant’s retention of the non-gratuitous benefits conferred on it by

 Plaintiffs and the other members of the putative classes is unjust and inequitable, Defendant must

 pay restitution to Plaintiff and all members of the putative classes for unjust enrichment, as ordered

 by the Court.

                                          COUNT VII
                              FRAUDULENT CONCEALMENT
   (On behalf of the Plaintiffs Asyia Andrews, Jessie McNaughton, Lisa Gans, and the Class
                                       against Defendant)

         238.    Plaintiffs incorporate by reference all allegations in this Complaint and restate them

 as if fully set forth herein.

         239.    Defendant concealed and failed to disclose the material fact that its Baby Foods

 contained, or were at risk of containing, elevated levels of Toxic Heavy Metals and/or other toxins,

 that Defendant was not testing the amount of Toxic Heavy Metals and/or other toxins in the

 finished products, and that the products were not safe or healthy for consumption.

         240.    Defendant had knowledge that the Baby Foods contained, or were at risk of

 containing, elevated levels of Toxic Heavy Metals and/or other toxins, that Defendant was not

 testing the amount of Toxic Heavy Metals and/or other toxins in its finished products, and that the

 products were not safe or healthy for consumption.



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        241.    Defendant had a duty to disclose that the Baby Foods contained, or were at risk of

 containing, elevated levels of Toxic Heavy Metals and/or other toxins, that Defendant was not

 testing the amount of Toxic Heavy Metals and/or other toxins in its finished Baby Foods, and that

 the Baby Foods were not safe or healthy for consumption. Defendant had superior knowledge or

 means of knowledge available to them and knew that Plaintiffs and the Class would rely upon the

 representations and omissions of Defendant regarding the quality of its products. Consumers lack

 the meaningful ability to test or independently ascertain or verify whether a product contains

 elevated levels of Toxic Heavy Metals and/or other toxins, especially at the point of sale.

        242.    Defendant’s concealment was material and intentional because caregivers are

 concerned with what they are feeding to the children in their care. Caregivers are influenced by

 the ingredients listed, as well as any warnings (or lack thereof) on the products they buy and feed

 to the children in their care. Defendant knows that if it had not omitted that the Baby Foods

 contained, or were at risk of containing, elevated levels of Toxic Heavy Metals and/or other toxins,

 that Defendant was not testing the amount of Toxic Heavy Metals and/or other toxins in the

 finished products, and that the products were not safe or healthy for consumption then Plaintiffs

 and the Class would not have paid a premium for the Baby Foods or purchased them at all.

        243.    Defendant’s concealment misled Plaintiffs and the Class as to the true nature of

 what they were buying and feeding to children.

        244.    Defendant fraudulently concealed that the Baby Foods contained, or were at risk of

 containing, elevated levels of Toxic Heavy Metals and/or other toxins, that they were not testing

 the amount of Toxic Heavy Metals and/or other toxins in the finished products, and that the

 products were not safe or healthy for consumption. Consequently, Plaintiffs and the other members

 of the Class have suffered injury and are entitled to damages.




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        245.    Plaintiffs and Class members seek all monetary and non-monetary relief allowed

 by law, including injunctive relief, other equitable relief, compensatory, actual, punitive, and treble

 damages, restitution, and attorneys’ fees, filing fees, and costs.

                                         COUNT VIII
       VIOLATIONS OF CALIFORNIA’S CONSUMERS LEGAL REMEDIES ACT
                    Cal. Civ. Code §§ 1750, et seq., Against Defendant
          (On Behalf of Plaintiff Lizette Romero Ortiz and the California Subclass)

        246.    Plaintiffs incorporate by reference and reallege each and every allegation contained

 above, as though fully set forth herein.

        247.    The California Consumers Legal Remedies Act (“CLRA”) prohibits any unfair or

 deceptive practices, as well as unconscionable commercial practices in connection with the sale of

 goods or services to consumers including, (i) “[m]isrepresenting the source, sponsorship, approval,

 or certification of goods or services” (ii) “[r]epresenting that goods or services have sponsorship,

 approval, characteristics, ingredients, uses, benefits, or quantities which he or she does not have

 or that a person has a sponsorship, approval, status, affiliation, or connection which he or she does

 not have;” (iii) “[r]epresenting that goods or services are of a particular standard, quality, or grade,

 or that goods are of a particular style or model, if they are of another” or (iv) “[a]dvertising goods

 or services with intent not to sell them as advertised.”

        248.    Plaintiffs and each proposed Class member are a “consumer,” as defined by the

 CLRA. See Cal. Civ. Code § 1761(d).

        249.    Defendant’s products, Earth’s Best Baby Foods, are “goods,” as defined by the

 CLRA. See § 1761(a).

        250.    Defendant is a “person,” as defined by the CLRA. See § 1761(c).

        251.    Plaintiffs and each proposed Class Member’s purchases of Earth’s Best Baby Food

 products from Defendant constitutes a “transaction,” as defined by the CLRA. See § 1761(e).



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        252.    Defendant violates this statute and commits unfair or deceptive acts or practices in

 the conduct of trade or commerce as alleged herein.

        253.    Defendant omitted material information regarding the levels of Toxic Heavy Metals

 and/or other toxins and toxic materials in its Earth’s Best Baby Foods.

        254.    Defendant intentionally misrepresented the standard, quality, or grade of the

 Earth’s Best Baby Food products and testing procedures for the products through mislabeling and

 false advertising in violation of CLRA § 1770 (7).

        255.    The omitted information regarding the grade, quality, testing procedures, presence

 of Toxic Heavy Metals and/or other toxins, and safety of baby food products is material

 information consumers relied on when deciding to purchase Defendant’s products.

        256.    Defendant’s omissions increased the risk of harm children faced by consuming the

 Earth’s Best Baby Foods.

        257.    Defendant had a duty to disclose to Plaintiffs and the Class Members that Earth’s

 Best Baby Foods contained excessive levels of Toxic Heavy Metals and/or other toxins and were

 of substandard quality for at least three reasons: (1) Defendant had exclusive knowledge of the

 information at the time of sale; and (2) Defendant actively concealed from Plaintiffs and the Class

 Members the excessive levels of Toxic Heavy Metals and/or other toxins contained in the Baby

 Foods (3) Defendant made material misrepresentations about the Baby Foods and their toxic

 components.

        258.    Defendant’s violations were and are, at least, reckless or willful, deceptive, unfair,

 and unconscionable.




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         259.    Had Plaintiffs and Class Members known that the products were unsafe, they would

 not have purchased the products, would have bought less of the products, or would have paid less

 for the products.

         260.    Plaintiffs and the Class have been directly and proximately harmed by Defendant’s

 material misrepresentations and omissions.

         261.    Defendant will continue to cause harm through these material misrepresentations

 and omissions without legal action.

         262.    Plaintiff will comply with the provisions of Cal. Civ. Code § 1782(a) and notify

 Defendant in writing of the CLRA violation alleged herein.

         263.    Pursuant to California Civil Code § 1780, Plaintiff seeks all available injunctive

 relief, including an order enjoining Defendant from the unlawful practices described above. If

 Defendant does not exercise its opportunity to provide corrective action pursuant to Section

 1782(b) within the time provided, Plaintiff will amend this complaint to seek damages and all other

 available relief.

                                            COUNT IX
            VIOLATION OF THE CALIFORNIA FALSE ADVERTISING LAW
                           Cal. Bus. & Prof. Code §§ 17500, et seq.
            (On Behalf of Plaintiff Lizette Romero Ortiz and the California Subclass)

         264.    Plaintiffs incorporate by reference and reallege each and every allegation contained

 above, as though fully set forth herein.

         265.    The California False Advertising Law (“FAL”) prohibits “untrue or misleading”

 statements or omissions in connection with the sale of goods.

         266.    Defendant omitted material information regarding the levels of Toxic Heavy Metals

 and/or other toxins and toxic materials in its Earth’s Best Baby Food products in a manner likely

 to deceive consumers.



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           267.   Defendant knew the Baby Foods contained Toxic Heavy Metals and/or other

 toxins. Defendant had a duty to disclose the presence of Toxic Heavy Metals and/or other toxins

 and failed to disclose to consumers’ detriment.

           268.   Defendant’s violations were and are, at least, reckless or willful, deceptive, unfair,

 and unconscionable.

           269.   Defendant knew or should have known that its material omissions concerning the

 levels of Toxic Heavy Metals and/or other toxins in its Baby Foods were misleading.

           270.   Defendant will continue to cause harm through these material misrepresentations

 and omissions without legal action.

           271.   As a result of Defendant’s practices, Plaintiffs and Class Members have lost money.

           272.   Plaintiffs and the California Subclass seek restitution under the statute including

 injunctive and equitable relief, and any other relief the Court deems necessary and proper.

                                             COUNT X
             VIOLATION OF THE CALIFORNIA UNFAIR COMPETITION LAW
                            Cal. Bus. & Prof. Code §§ 17200, et seq.
             (On Behalf of Plaintiff Lizette Romero Ortiz and the California Subclass)

           273.   Plaintiffs incorporate by reference and reallege each and every allegation contained

 above, as though fully set forth herein.

           274.   The California Unfair Competition Law (“UCL”) prohibits any “unlawful, unfair

 or fraudulent business act or practice.”

           275.   Defendant’s material misstatements and omissions concerning the presence of

 Toxic Heavy Metals and/or other toxins in the Baby Foods is likely to deceive consumers and the

 public.

           276.   Defendant’s conduct, as described in ¶ 277 and alleged herein, violates the CLRA

 and the FAL. See Cal. Civ. Code §§ 1750, et seq; Cal. Bus. & Prof. Code §§ 17500, et seq.



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          277.   Defendant’s manufacturing, packaging, distribution, and sale of Earth’s Best Baby

 Foods are immoral, unethical, unscrupulous, or substantially injurious to consumers. The

 unavoidable risks and harms associated with Defendant’s conduct outweigh any benefits.

          278.   Defendant’s conduct is unfair because it violates public policy as stated in

 constitutional, statutory, and/or regulatory provisions, including, but not limited to, the FAL. See

 Cal. Bus. & Prof. Code §§ 17500, et seq.

          279.   Defendant had a duty to disclose the presence of Toxic Heavy Metals and/or other

 toxins in Earth’s Best Baby Foods because Defendant had exclusive knowledge of the levels of

 Toxic Heavy Metals and/or other toxins, Defendant concealed the presence of Toxic Heavy Metals

 and/or other toxins in its Baby Foods, and Defendant concealed internal specifications measuring

 Toxic Heavy Metals and/or other toxins in its Baby Foods.

          280.   Plaintiffs relied on the Earth’s Best Baby Foods labels and packaging when

 deciding whether to purchase Defendant’s Baby Foods. Had Plaintiffs and Class Members known

 that the Baby Foods contained Toxic Heavy Metals and/or other toxins and were unsafe, they

 would not have purchased the products, would have bought less of the products, or would have

 paid less for the products.

          281.   As a result of Defendant’s practices, Plaintiffs and Class Members have lost

 money.

          282.   Defendant will continue to cause harm through these material misrepresentations

 and omissions without legal action.

          283.   Plaintiffs and the California Subclass seek restitution, injunctive, and equitable

 relief, and any other relief the Court deems necessary and proper under the statute.




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                                          COUNT XI
                    VIOLATION OF THE DISTRICT OF COLUMBIA
                    CONSUMER PROTECTION PROCEDURES ACT
                                  D.C. Code §§ 28-3904, et seq.
      (On Behalf of Plaintiffs Lisa Gans, Zeynep Senturk Mannix, and the D.C. Subclass)

        284.    Plaintiffs incorporate by reference and reallege each and every allegation contained

 above, as though fully set forth herein.

        285.    The District of Columbia Consumer Protection Procedures Act (“DCCPPA”)

 prohibits “an unfair or deceptive trade practice, whether or not any consumer is in fact misled,

 deceived, or damaged thereby, including,” (i) “represent[ing] that goods or services have a source,

 sponsorship, approval, certification, accessories, characteristics, ingredients, uses, benefits, or

 quantities that they do not have;” (ii) “represent[ing] that goods or services are of particular

 standard, quality, grade, style, or model, if in fact they are of another;” (iii) “misrepresent as to a

 material fact which has a tendency to mislead;” (iv) “fail[ing] to state a material fact if such failure

 tends to mislead;” (v) “advertis[ing] or offer[ing] goods or services without the intent to sell them

 or without the intent to sell them as advertised or offered;” or (vi) “advertis[ing] or offer[ing] goods

 or services without supplying reasonably expected public demand, unless the advertisement or

 offer discloses a limitation of quantity or other qualifying condition which has no tendency to

 mislead.”

        286.    Plaintiffs and each proposed Class member are a “consumer,” as defined by the

 DCCPPA that purchased Earth’s Best Baby Food products for personal, family, or household use.

 See D.C. Code § 28-3901(a)(2).

        287.    Defendant violates this statute and commits unfair or deceptive acts or practices in

 the conduct of trade or commerce as alleged herein.

        288.    Defendant omitted material information regarding the levels of Toxic Heavy Metals

 and/or other toxins and toxic materials in its Earth’s Best Baby Foods.


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        289.      Defendant intentionally misrepresented the standard, quality, or grade of the

 Earth’s Best Baby Foods and testing procedures for the products through mislabeling and false

 advertising.

        290.      The omitted information regarding the grade, quality, testing procedures, presence

 of Toxic Heavy Metals and/or other toxins, and safety of baby food products is material

 information consumers relied on when deciding to purchase Defendant’s products.

        291.      Defendant’s omissions increased the risk of harm children faced by consuming the

 Earth’s Best Baby Foods.

        292.      Defendant’s violations were and are, at least, reckless or willful, deceptive, unfair,

 and unconscionable.

        293.      Had Plaintiffs and Class Members known that the products were unsafe, they would

 not have purchased the products, would have bought less of the products, or would have paid less

 for the products.

        294.      Defendant will continue to cause harm through these material misrepresentations

 and omissions without legal action.

        295.      Plaintiffs and the D.C. Subclass seek relief under the statute including the greater

 of $1,500 per violation or treble damages, actual damages, punitive damages, attorney’s fees and

 costs, an injunction, and any other relief the Court deems necessary and proper.

                                            COUNT XII
                VIOLATION OF THE IDAHO CONSUMER PROTECTION ACT
                               Idaho Code Ann. §§ 48-601, et seq.
                  (On Behalf of Plaintiff Jade Huguenot and the Idaho Subclass)

        296.      Plaintiffs incorporate by reference and reallege each and every allegation contained

 above, as though fully set forth herein.




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        297.    The Idaho Consumer Protect Act (“ICPA”) prohibits “unfair or deceptive acts and

 practices in the conduct of trade or commerce,” including: “(2) Causing likelihood of confusion or

 of misunderstanding as to the source, sponsorship, approval, or certification of goods or services;”

 “(4) Using deceptive representations or designations of geographic origin in connection with goods

 or services;” “(5) Representing that goods or services have sponsorship, approval, characteristics,

 ingredients, uses, benefits, or quantities that they do not have or that a person has a sponsorship,

 approval, status, affiliation, connection, qualifications or license that he does not have;” “(7)

 Representing that goods or services are of a particular standard, quality, or grade, or that goods are

 of a particular style or model, if they are of another;” and “(9) Advertising goods or services with

 intent not to sell them as advertised.”

        298.    Defendant is a “person” as defined by the ICPA. See Idaho Code Ann. § 48-602(1).

        299.    Defendant commits these violations in the course of conducting “trade” or

 “commerce” as defined by the ICPA. See Idaho Code Ann. § 48-602(2)

        300.    Defendant violates this statute and commits unfair or deceptive acts or practices in

 the conduct of trade or commerce as alleged herein.

        301.    Defendant omitted material information regarding the levels of heavy metals and

 toxic materials in their Earth’s Best Baby Food products.

        302.    Defendant intentionally misrepresented the standard, quality, or grade of the

 Earth’s Best Baby Food products and testing procedures for the products through mislabeling and

 false advertising.

        303.    The omitted information regarding the grade, quality, testing procedures, presence

 of heavy metals, and safety of baby food products is material information consumers relied on

 when deciding to purchase Defendant’s products.




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        304.    Defendant’s omissions increased the risk of harm children faced by consuming the

 Earth’s Best Baby Food products.

        305.    Defendant’s violations were and are, at least reckless or willful, deceptive, unfair,

 and unconscionable.

        306.    Had Plaintiffs and Class Members known that the products were unsafe, they would

 not have purchased the products, would have bought less of the products, or would have paid less

 for the products.

        307.    Defendant will continue to cause harm through these material misrepresentations

 and omissions without legal action.

        308.    Plaintiffs and the Idaho Subclass seek relief under the statute including recovery of

 actual damages or damages in the amount of $1,000 per Class Member, restitution, injunctive

 relief, costs and attorney’s fees, and any other relief the Court deems necessary and proper.

                                      COUNT XIII
         VIOLATION OF THE INDIANA DECEPTIVE CONSUMER SALES ACT
                        Ind. Code Ann. §§ 24-5-0.5-0.1, et seq.
              (On Behalf of Plaintiff Cassie Isza and the Indiana Subclass)

        309.    Plaintiffs incorporate by reference and reallege each and every allegation contained

 above, as though fully set forth herein.

        310.    The Indiana Deceptive Consumer Sales Act (“IDCSA”) prohibits “an unfair,

 abusive, or deceptive act, omission, or practice in connection with a consumer transaction”

 whether it is an “implicit” or “explicit misrepresentation[].” Such deceptive acts include: “(1) That

 such subject of a consumer transaction has sponsorship, approval, performance, characteristics,

 accessories, uses, or benefits it does not have which the supplier knows or should reasonably know

 it does not have;” and “(2) That such subject of a consumer transaction is of a particular standard,




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 quality, grade, style, or model, if it is not and if the supplier knows or should reasonably know that

 it is not.”

         311.   Defendant is as a “supplier” as defined by the IDCSA. See Ind. Code Ann. § 24-5-

 0.5-2(3).

         312.   Defendant commits these violations in the course of a “consumer transaction” as

 defined by the IDCSA. See Ind. Code Ann. § 24-5-0.5-2(1).

         313.   Defendant violates this statute and commits unfair or deceptive acts or practices in

 the conduct of business, trade or commerce as alleged herein.

         314.   Defendant omitted material information regarding the levels of Toxic Heavy Metals

 and/or other toxins and toxic materials in its Earth’s Best Baby Food products.

         315.   Defendant intentionally misrepresented the standard, quality, or grade of the

 Earth’s Best Baby Food products and testing procedures for the products through mislabeling and

 false advertising.

         316.   The omitted information regarding the grade, quality, testing procedures, presence

 of Toxic Heavy Metals and/or other toxins, and safety of baby food products is material

 information consumers relied on when deciding to purchase Defendant’s products.

         317.   Defendant’s omissions increased the risk of harm children faced by consuming the

 Earth’s Best Baby Food products.

         318.   Defendant’s violations were and are, at least, reckless or willful, deceptive, unfair,

 and unconscionable.

         319.   Had Plaintiffs and Class Members known that the products were unsafe, they would

 not have purchased the products, would have bought less of the products, or would have paid less

 for the products.




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        320.    Defendant will continue to cause harm through these material misrepresentations

 and omissions without legal action.

        321.    Plaintiffs and the Indiana Subclass seek relief under the statute including the greater

 of actual damages or $500, the greater of actual damages or $1,000 in the case of a willful violation,

 costs and attorney’s fees, and any other relief the Court deems necessary and proper.

                                         COUNT XIV
           VIOLATION OF THE KENTUCKY CONSUMER PROTECTION ACT
                            Ky. Rev. Stat. Ann. §§ 367.110, et seq.
              (On Behalf of Plaintiff Shahalis Wilson and the Kentucky Subclass)

        322.    Plaintiffs incorporate by reference and reallege each and every allegation contained

 above, as though fully set forth herein.

        323.    The Kentucky Consumer Protection Act (“KCPA”) states that “[u]nfair, false,

 misleading, or deceptive acts or practices in the conduct of any trade or commerce are hereby

 declared unlawful.”

        324.    Defendant’s acts are “unfair” as defined by the KCPA. See Ky. Rev. Stat. Ann. §

 367.170(2).

        325.    Defendant violates this statute in the conduct of “trade” or “commerce” as defined

 by the KCPA. See Ky. Rev. Stat. Ann. § 367.110(2).

        326.    Defendant violates this statute and commits unfair or deceptive acts or practices in

 connection with the sale of merchandise and in the conduct of trade or commerce as alleged herein.

        327.    Defendant omitted material information regarding the levels of Toxic Heavy Metals

 and/or other toxins and toxic materials in its Earth’s Best Baby Food products.

        328.    Defendant intentionally misrepresented the standard, quality, or grade of its Earth’s

 Best Baby Food products and testing procedures for the products through mislabeling and false

 advertising.



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        329.    The omitted information regarding the grade, quality, testing procedures, presence

 of Toxic Heavy Metals and/or other toxins, and safety of baby food products is material

 information consumers relied on when deciding to purchase Defendant’s products.

        330.    Defendant’s omissions increased the risk of harm children faced by consuming its

 Earth’s Best Baby Food products.

        331.    Defendant’s violations were and are, at least, reckless or willful, deceptive, unfair,

 and unconscionable.

        332.    Had Plaintiffs and Class Members known that the products were unsafe, they would

 not have purchased the products, would have bought less of the products, or would have paid less

 for the products.

        333.    Defendant will continue to cause harm through these material misrepresentations

 and omissions without legal action.

        334.    Plaintiffs and the Kentucky Subclass seek relief under the statute including

 recovery of actual damages, injunctive relief, punitive damages, costs and attorney’s fees, and any

 other relief the Court deems necessary and proper.

                                         COUNT XV
            VIOLATION OF THE MAINE UNFAIR TRADE PRACTICES ACT
                            Me. Rev. Stat. tit. 5, § 205-A, et seq.
             (On Behalf of Plaintiff Bethany Nickerson and the Maine Subclass)

        335.    Plaintiffs incorporate by reference and reallege each and every allegation contained

 above, as though fully set forth herein.

        336.    The Maine Unfair Trade Practices Act (“MUTPA”) states that “[u]nfair methods of

 competition and unfair or deceptive acts or practices in the conduct of any trade or commerce are

 declared unlawful.”




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         337.    Defendant violates this statute in the conduct of “trade” or “commerce” as defined

 by the statute. See Me. Rev. Stat. tit. 5, § 206(3).

         338.    Defendant violates this statute and commits unfair or deceptive acts or practices in

 connection with the sale of merchandise and in the conduct of trade or commerce as alleged herein.

         339.    Defendant omitted material information regarding the levels of Toxic Heavy Metals

 and/or other toxins and toxic materials in its Earth’s Best Baby Food products.

         340.    Defendant intentionally misrepresented the standard, quality, or grade of the

 Earth’s Best Baby Food products and testing procedures for the products through mislabeling and

 false advertising.

         341.    The omitted information regarding the grade, quality, testing procedures, presence

 of Toxic Heavy Metals and/or other toxins, and safety of baby food products is material

 information consumers relied on when deciding to purchase Defendant’s products.

         342.    Defendant’s omissions increased the risk of harm children faced by consuming the

 Earth’s Best Baby Food products.

         343.    Defendant’s violations were and are, at least, reckless or willful, deceptive, unfair,

 and unconscionable.

         344.    Had Plaintiffs and Class Members known that the products were unsafe, they would

 not have purchased the products, would have bought less of the products, or would have paid less

 for the products.

         345.    Defendant will continue to cause harm through these material misrepresentations

 and omissions without legal action.




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        346.    Plaintiffs and the Maine Subclass seek relief under the statute including recovery

 of actual damages, injunctive relief, costs and attorney’s fees, and any other relief the Court deems

 necessary and proper.

                                        COUNT XVI
       VIOLATION OF THE MASSACHUSETTS CONSUMER PROTECTION ACT
                        Mass. Gen. Laws Ann. ch. 93A, §§ 1, et seq.
          (On Behalf of Plaintiff Myjorie Philippe and the Massachusetts Subclass)

        347.    Plaintiffs incorporate by reference and reallege each and every allegation contained

 above, as though fully set forth herein.

        348.    The Massachusetts Consumer Protection Act (“MCPA”) states “[u]nfair methods

 of competition and unfair or deceptive acts or practices in the conduct of any trade or commerce

 are hereby declared unlawful.”

        349.    Defendant commits the violations alleged herein in the course of conducting “trade”

 or “commerce” as defined by the statute. See Mass. Gen. Laws Ann. ch. 93A, § 1(b).

        350.    Defendant violates this statute and commits unfair or deceptive acts or practices in

 connection with the sale of merchandise and in the conduct of trade or commerce as alleged herein.

        351.    Defendant omitted material information regarding the levels of Toxic Heavy Metals

 and/or other toxins and toxic materials in its Earth’s Best Baby Food products.

        352.    Defendant intentionally misrepresented the standard, quality, or grade of the

 Earth’s Best Baby Food products and testing procedures for the products through mislabeling and

 false advertising.

        353.    The omitted information regarding the grade, quality, testing procedures, presence

 of Toxic Heavy Metals and/or other toxins, and safety of baby food products is material

 information consumers relied on when deciding to purchase Defendant’s products.




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        354.    Defendant’s omissions increased the risk of harm children faced by consuming the

 Earth’s Best Baby Food products.

        355.    Defendant’s violations were and are, at least, reckless or willful, deceptive, unfair,

 and unconscionable.

        356.    Had Plaintiffs and Class Members known that the products were unsafe, they would

 not have purchased the products, would have bought less of the products, or would have paid less

 for the products.

        357.    Defendant will continue to cause harm through these material misrepresentations

 and omissions without legal action.

        358.    As a result of Defendant’s practices, Plaintiffs and Class Members have lost money.

        359.    Pursuant to Section 9(3) of the MCPA, Mass. Gen. Laws Ann. ch. 93A, Plaintiff

 Philippe provided Defendant with a written demand for corrective action, identifying Defendant’s

 unfair, deceptive acts and practices and injuries suffered and alleged herein.

        360.    Plaintiffs and the Massachusetts Subclass seek relief under the statute including

 recovery of actual damages or twenty-fix dollars, whichever is greater, or up to three but not less

 than two times such amount, equitable relief, costs and attorney’s fees, and any other relief the

 Court deems necessary and proper.

                                       COUNT XVII
         VIOLATION OF THE MISSOURI MERCHANDISING PRACTICES ACT
                             Mo. Ann. Stat. §§ 407.010, et seq.
             (On Behalf of Plaintiff Cassie Caldwell and the Missouri Subclass)

        361.    Plaintiffs incorporate by reference and reallege each and every allegation contained

 above, as though fully set forth herein.

        362.    The Missouri Merchandising Practices Act (“MMPA”) prohibits “[t]he act, use or

 employment by any person of any deception, fraud, false pretense, false promise,



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 misrepresentation, unfair practice or the concealment, suppression, or omission of any material

 fact in connection with the sale or advertisement of any merchandise in trade or commerce or the

 solicitation of any funds for any charitable purpose, as defined in section 407.453, in or from the

 state of Missouri.”

        363.    Defendant is a “person” as defined by the MMPA. See Mo. Ann. Stat. § 407.010(5).

        364.    Defendant’s conduct constitutes a “sale” or “advertisement” as defined by the

 MMPA. See Mo. Ann. Stat. § 407.010(1), (6).

        365.    Defendant commits the violations alleged herein in the course of conducting “trade”

 or “commerce” as defined by the statute. See Mo. Ann. Stat. § 407.010(7).

        366.    Defendant violates this statute and commits unfair or deceptive acts or practices in

 the conduct of trade or commerce in this state as alleged herein.

        367.    Defendant omitted material information regarding the levels of Toxic Heavy Metals

 and/or other toxins and toxic materials in its Earth’s Best Baby Food products.

        368.    Defendant intentionally misrepresented the standard, quality, or grade of the

 Earth’s Best Baby Food products and testing procedures for the products through mislabeling and

 false advertising.

        369.    The omitted information regarding the grade, quality, testing procedures, presence

 of Toxic Heavy Metals and/or other toxins, and safety of baby food products is material

 information consumers relied on when deciding to purchase Defendant’s products.

        370.    Defendant’s omissions increased the risk of harm children faced by consuming the

 Earth’s Best Baby Food products.

        371.    Defendant’s violations were and are, at least, reckless or willful, deceptive, unfair,

 and unconscionable.




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        372.    Had Plaintiffs and Class Members known that the products were unsafe, they would

 not have purchased the products, would have bought less of the products, or would have paid less

 for the products.

        373.    Defendant will continue to cause harm through these material misrepresentations

 and omissions without legal action.

        374.    Plaintiffs and the Missouri Subclass seek relief under the statute including the

 greater of actual damages, costs and attorney’s fees, injunctive relief, and any other relief the Court

 deems necessary and proper.

                                  COUNT XVIII
    VIOLATION OF THE NEVADA TRADE REGULATIONS AND PRACTICES ACT
                     Nev. Rev. Stat. Ann. §§ 598.0903, et seq.
             (On Behalf of Elena Thormahlen and the Nevada Subclass)

        375.    Plaintiffs incorporate by reference and reallege each and every allegation contained

 above, as though fully set forth herein.

        376.    The Nevada Trade Regulations and Practices Act (“NTRPA”) prohibits deceptive

 trade practices in the course of conducting one’s business or occupation which include when a

 person: (i) “[k]nowingly makes a false representation as to the source, sponsorship, approval or

 certification of goods or services for sale or lease”; (ii) “[k]nowingly makes a false representation

 as to affiliation, connection, association with or certification by another person”; (iii) “[u]ses

 deceptive representations or designations of geographic origin in connection with goods or

 services for sale or lease”; (iv) “[k]nowingly makes a false representation as to the characteristics,

 ingredients, uses, benefits, alterations or quantities of goods or services for sale or lease or a false

 representation as to the sponsorship, approval, status, affiliation or connection of a person

 therewith”; (v) “[r]epresents that goods or services for sale or lease are of a particular standard,

 quality or grade, or that such goods are of a particular style or model, if he or she knows or should



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 know that they are of another standard, quality, grade, style or model”; or (vi) “[a]dvertises goods

 or services with intent not to sell or lease them as advertised.”

        377.    Defendant violates this statute and commits unfair or deceptive acts or practices in

 the conduct of trade or commerce in this state as alleged herein.

        378.    Defendant omitted material information regarding the levels of Toxic Heavy Metals

 and/or other toxins and toxic materials in its Earth’s Best Baby Food products.

        379.    Defendant intentionally misrepresented the standard, quality, or grade of the

 Earth’s Best Baby Food products and testing procedures for the products through mislabeling and

 false advertising.

        380.    The omitted information regarding the grade, quality, testing procedures, presence

 of Toxic Heavy Metals and/or other toxins, and safety of baby food products is material

 information consumers relied on when deciding to purchase Defendant’s products.

        381.    Defendant’s omissions increased the risk of harm children faced by consuming the

 Earth’s Best Baby Food products.

        382.    Defendant’s violations were and are, at least, reckless or willful, deceptive, unfair,

 and unconscionable.

        383.    Had Plaintiffs and Class Members known that the products were unsafe, they would

 not have purchased the products, would have bought less of the products, or would have paid less

 for the products.

        384.    Defendant will continue to cause harm through these material misrepresentations

 and omissions without legal action.




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           385.   Plaintiffs and the Nevada Subclass seek relief under the statute including actual

 damages, costs and attorney’s fees, injunctive relief, and any other relief the Court deems

 necessary and proper.

                                       COUNT XIX
       VIOLATION OF THE NEW HAMPSHIRE CONSUMER PROTECTION ACT
                          N.H. Rev. Stat. Ann. § 358-A:1, et seq.
          (On Behalf of Plaintiff Carolyn Leary and the New Hampshire Subclass)

           386.   Plaintiffs incorporate by reference and reallege each and every allegation contained

 above, as though fully set forth herein.

           387.   Under the New Hampshire Consumer Protection Act (“NHCPA”) “[i]t shall be

 unlawful for any person to use any unfair method of competition or any unfair or deceptive act or

 practice in the conduct of any trade or commerce within this state” including, “V. [r]epresenting

 that goods or services have sponsorship, approval, characteristics, ingredients, uses, benefits, or

 quantities that they do not have or that a person has a sponsorship, approval, status, affiliation, or

 connection that such person does not have; “VII. Representing that goods or services are of a

 particular standard, quality, or grade, or that goods are of a particular style or model, if they are of

 another;” [or] “IX. Advertising goods or services with intent not to sell them as advertised[.]”

           388.   Defendant is a “person,” as defined by the statute. See N.H. Rev. Stat. Ann. § 358-

 A:1(1).

           389.   Defendant violates this statute and commits unfair or deceptive acts or practices in

 the conduct of trade or commerce in this state as alleged herein.

           390.   Defendant omitted material information regarding the levels of Toxic Heavy Metals

 and/or other toxins and toxic materials in its Earth’s Best Baby Food products.




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        391.    Defendant intentionally misrepresented the standard, quality, or grade of the

 Earth’s Best Baby Food products and testing procedures for the products through mislabeling and

 false advertising.

        392.    The omitted information regarding the grade, quality, testing procedures, presence

 of Toxic Heavy Metals and/or other toxins, and safety of baby food products is material

 information consumers relied on when deciding to purchase Defendant’s products.

        393.    Defendant’s omissions increased the risk of harm children faced by consuming the

 Earth’s Best Baby Food products.

        394.    Defendant’s violations were and are, at least, reckless or willful, deceptive, unfair,

 and unconscionable.

        395.    Had Plaintiffs and Class Members known that the products were unsafe, they would

 not have purchased the products, would have bought less of the products, or would have paid less

 for the products.

        396.    Defendant will continue to cause harm through these material misrepresentations

 and omissions without legal action.

        397.    Plaintiffs and the New Hampshire Subclass seek relief under the statute including

 the greater of actual damages or $1,000, up to three times the amount of damages for a willful

 violation, costs and attorney’s fees, injunctive relief, and any other relief the Court deems

 necessary and proper.

                                           COUNT XX
                 VIOLATION OF THE TRADE NAMES, TRADE-MARKS,
                               AND UNFAIR PRACTICES ACT
                                N.J. Stat. Ann. §§ 56:8-1, et seq.
               (On Behalf of Plaintiff Asyia Andrews and the New Jersey Subclass)

        398.    Plaintiffs incorporate by reference and reallege each and every allegation contained

 above, as though fully set forth herein.


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         399.    The New Jersey Trade Names, Trade-Marks, and Unfair Practices Act

 (“NJTTUPA”) prohibits “The act, use or employment by any person of any unconscionable

 commercial practice, deception, fraud, false pretense, false promise, misrepresentation, or the

 knowing, concealment, suppression, or omission of any material fact with intent that others rely

 upon such concealment, suppression or omission, in connection with the sale or advertisement of

 any merchandise.”

         400.    Defendant commits the violations alleged herein in connection with the “sale” or

 “advertisement” of Earth’s Best Baby Food products as defined by the statute. See N.J. Stat. Ann.

 § 56:8-1(a), (e).

         401.    Defendant violates this statute and commits unfair or deceptive acts or practices in

 the conduct of trade or commerce in this state as alleged herein.

         402.    Defendant omitted material information regarding the levels of Toxic Heavy Metals

 and/or other toxins and toxic materials in its Earth’s Best Baby Food products.

         403.    Defendant intentionally misrepresented the standard, quality, or grade of the

 Earth’s Best Baby Food products and testing procedures for the products through mislabeling and

 false advertising.

         404.    The omitted information regarding the grade, quality, testing procedures, presence

 of Toxic Heavy Metals and/or other toxins, and safety of baby food products is material

 information consumers relied on when deciding to purchase Defendant’s products.

         405.    Defendant’s omissions increased the risk of harm children faced by consuming the

 Earth’s Best Baby Food products.

         406.    Defendant’s violations were and are, at least, reckless or willful, deceptive, unfair,

 and unconscionable.




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        407.    Had Plaintiffs and Class Members known that the products were unsafe, they would

 not have purchased the products, would have bought less of the products, or would have paid less

 for the products.

        408.    Defendant will continue to cause harm through these material misrepresentations

 and omissions without legal action.

        409.    Plaintiffs and the New Jersey Subclass seek relief under the statute including actual

 damages, costs and attorney’s fees, injunctive relief, and any other relief the Court deems

 necessary and proper.

                                        COUNT XXI
        VIOLATION OF THE NORTH CAROLINA MONOPOLIES, TRUSTS AND
                            CONSUMER PROTECTION ACT
                            N.C. Gen. Stat. Ann. § 75-1.1, et seq.
           (On Behalf of Plaintiff Helen Howard and the North Carolina Subclass)

        410.    Plaintiffs incorporate by reference and reallege each and every allegation contained

 above, as though fully set forth herein.

        411.    The North Carolina Monopolies, Trusts and Consumer Protection Act

 (“NCMTCPA”) states “[u]nfair methods of competition in or affecting commerce, and unfair or

 deceptive acts or practices in or affecting commerce, are declared unlawful.”

        412.    Defendant violates this statute while engaging in “commerce” as defined by the

 NCMTCPA. See N.C. Gen. Stat. Ann. § 75-1.1(b).

        413.    Defendant violates this statute and commits unfair or deceptive acts or practices in

 the conduct of trade or commerce in this state as alleged herein.

        414.    Defendant omitted material information regarding the levels of Toxic Heavy Metals

 and/or other toxins and toxic materials in its Earth’s Best Baby Food products.




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        415.    Defendant intentionally misrepresented the standard, quality, or grade of the

 Earth’s Best Baby Food products and testing procedures for the products through mislabeling and

 false advertising.

        416.    Defendant’s omissions increased the risk of harm children faced by consuming the

 Earth’s Best Baby Food products.

        417.    Defendant’s violations were and are, at least, reckless or willful, deceptive, unfair,

 and unconscionable.

        418.    Had Plaintiffs and Class Members known that the products were unsafe, they would

 not have purchased the products, would have bought less of the products, or would have paid less

 for the products.

        419.    Defendant will continue to cause harm through these material misrepresentations

 and omissions without legal action.

        420.    Plaintiffs and the North Carolina Subclass seek relief under the statute including

 actual damages, treble damages, costs and attorney’s fees, injunctive relief, and any other relief

 the Court deems necessary and proper.

                                      COUNT XXII
       VIOLATION OF THE PENNSYLVANIA UNFAIR TRADE PRACTICES AND
                          CONSUMER PROTECTION LAW
                         73 Pa. Cons. Stat. Ann. §§ 201-1 et seq.
           (On Behalf of Plaintiff Tanya Motsay and the Pennsylvania Subclass)

        421.     Plaintiffs incorporate by reference and reallege each and every allegation contained

 above, as though fully set forth herein.

        422.    The Pennsylvania Unfair Trade Practices and Consumer Protection Law

 (“PUTPCPL”) declares “[u]nfair methods of competition and unfair or deceptive acts or practices

 in the conduct of any trade or commerce . . . unlawful.”




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        423.    Under the PUTPCPL, “unfair methods of competition” and “unfair or deceptive

 acts or practices” include, (i) “[c]ausing likelihood of confusion or of misunderstanding as to the

 source, sponsorship, approval or certification of goods or services;” (ii) “[r]epresenting that goods

 or services have sponsorship, approval, characteristics, ingredients, uses, benefits or quantities that

 they do not have or that a person has a sponsorship, approval, status, affiliation or connection that

 he does not have;” (iii) “[r]epresenting that goods or services are of a particular standard, quality

 or grade, or that goods are of a particular style or model, if they are of another;” or (iv)

 “[a]dvertising goods or services with intent not to sell them as advertised[.]”

        424.    Defendant violates this statute and commits unfair or deceptive acts or practices in

 the conduct of trade or commerce as alleged herein.

        425.    Defendant omitted material information regarding the levels of Toxic Heavy Metals

 and/or other toxins and toxic materials in its Earth’s Best Baby Food products.

        426.    Defendant intentionally misrepresented the standard, quality, or grade of the

 Earth’s Best Baby Food products and testing procedures for the products through mislabeling and

 false advertising.

        427.    The omitted information regarding the grade, quality, testing procedures, presence

 of Toxic Heavy Metals and/or other toxins, and safety of baby food products is material

 information consumers relied on when deciding to purchase Defendant’s products.

        428.    Defendant’s omissions increased the risk of harm children faced by consuming the

 Earth’s Best Baby Food products.

        429.    Defendant’s violations were and are, at least, reckless or willful, deceptive, unfair,

 and unconscionable.




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          430.     Had Plaintiffs and Class Members known that the products were unsafe, they would

 not have purchased the products, would have bought less of the products, or would have paid less

 for the products.

          431.     Defendant will continue to cause harm through these material misrepresentations

 and omissions without legal action.

          432.     Plaintiffs and the Pennsylvania Subclass seek relief under the statute including the

 greater of actual damages or $100, costs and attorney’s fees, and any other relief the Court deems

 necessary and proper.

                                      COUNT XXIII
        VIOLATION OF THE RHODE ISLAND UNFAIR TRADE PRACTICES AND
                            CONSUMER PROTECTION ACT
                        R.I. GEN. LAWS ANN. §§ 6-13.1-1, et seq.
           (On Behalf of Plaintiff Amanda Roman and the Rhode Island Subclass)

          433.     Plaintiffs incorporate by reference and reallege each and every allegation contained

 above, as though fully set forth herein.

          434.     The Rhode Island Unfair Trade Practices and Consumer Protection Act

 (“RIUTPCPA”) states “[u]nfair methods of competition and unfair or deceptive acts or practices

 in the conduct of any trade or commerce are declared unlawful.”

          435.     Defendant engages in “unfair methods of competition and unfair or deceptive acts

 or practices” as defined by the RIUTPCPA. See R.I. Gen. Laws Ann. § 6-13.1-1(6) (ii), (iv), (v),

 (vii), (xii), (xiii).

          436.     Defendant violates this statute in the conduct of “trade or commerce” as defined by

 the RIUTPCPA. See R.I. Gen. Laws Ann. § 6-13.1-1(5)

          437.     Defendant violates this statute and commits unfair or deceptive acts or practices in

 the conduct of trade or commerce as alleged herein.




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        438.    Defendant omitted material information regarding the levels of Toxic Heavy Metals

 and/or other toxins and toxic materials in its Earth’s Best Baby Food products.

        439.    Defendant intentionally misrepresented the standard, quality, or grade of the

 Earth’s Best Baby Food products and testing procedures for the products through mislabeling and

 false advertising.

        440.    The omitted information regarding the grade, quality, testing procedures, presence

 of Toxic Heavy Metals and/or other toxins, and safety of baby food products is material

 information consumers relied on when deciding to purchase Defendant’s products.

        441.    Defendant’s omissions increased the risk of harm children faced by consuming the

 Earth’s Best Baby Food products.

        442.    Defendant’s violations were and are, at least, reckless or willful, deceptive, unfair,

 and unconscionable.

        443.    Had Plaintiffs and Class Members known that the products were unsafe, they would

 not have purchased the products, would have bought less of the products, or would have paid less

 for the products.

        444.    Defendant will continue to cause harm through these material misrepresentations

 and omissions without legal action.

        445.    Plaintiffs and the Rhode Island Subclass seek relief under the statute including the

 greater of actual damages or $500, treble damages, injunctive relief, costs and attorney’s fees, and

 any other relief the Court deems necessary and proper.




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                                        COUNT XXIV
          VIOLATION OF THE VIRGINIA CONSUMER PROTECTION ACT
                               Va. Code Ann. § 59.1-196, et seq.
     (On Behalf of Plaintiffs Stephanie Weimer, Simone Craig, and the Virginia Subclass)

        446.    Plaintiffs incorporate by reference and reallege each and every allegation contained

 above, as though fully set forth herein.

        447.    The Virginia Consumer Protection Act (“VCPA”) declares several “fraudulent acts

 or practices committed by a supplier in connection with a consumer transaction . . . unlawful,”

 including (i) “[m]isrepresenting the source, sponsorship, approval, or certification of goods or

 services;” (ii) “[m]isrepresenting that goods or services have certain quantities, characteristics,

 ingredients, uses, or benefits;” (iii) “[m]isrepresenting that goods or services are of a particular

 standard, quality, grade, style, or model;” (iv) “[a]dvertising goods or services with intent not to

 sell them as advertised, or with intent not to sell at the price or upon the terms advertised;” or (v)

 “[u]sing any other deception, fraud, false pretense, false promise, or misrepresentation in

 connection with a consumer transaction.”

        448.    Defendant is a “supplier,” as defined by the VCPA. See Va. Code Ann. § 59.1-198.

        449.    Defendant engaged in a “consumer transaction” with Plaintiffs and the Class

 members, as defined by the VCPA. See § 59.1-198.

        450.    Defendant violates this statute and commits unfair or deceptive acts or practices in

 the conduct of trade or commerce, as alleged herein, including, by omitting material information

 regarding the levels of Toxic Heavy Metals and/or other toxins and toxins in Hain Baby Food

 products.

        451.    Defendant intentionally misrepresented the standard, quality, or grade of the

 Earth’s Best Baby Food products and testing procedures for the products through mislabeling and

 false advertising.



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        452.    The omitted information regarding the grade, quality, testing procedures, presence

 of Toxic Heavy Metals and/or other toxins, and safety of baby food products is material

 information consumers relied on when deciding to purchase Defendant’s products.

        453.    Defendant’s omissions increased the risk of harm children faced by consuming the

 Earth’s Best Baby food products.

        454.    Defendant’s violations were and are, at least, reckless or willful, deceptive, unfair,

 and unconscionable.

        455.    Had Plaintiffs and Class Members known that the products were unsafe, they would

 not have purchased the products, would have bought less of the products, or would have paid less

 for the products.

        456.    Defendant will continue to cause harm through these material misrepresentations

 and omissions without legal action.

        457.    Plaintiffs and the Virginia Subclass seek relief under the statute including the

 greater of actual damages or $500, damages not exceeding three times actual damages or $1,000

 for a willful violation, costs and attorney’s fees, and any other relief the Court deems necessary

 and proper.

                                        COUNT XXV
         VIOLATION OF THE WASHINGTON CONSUMER PROTECTION ACT
                         Wash. Rev. Code Ann. §§ 19.86.010, et seq.
           (On Behalf of Plaintiff Monica Hazelwood and the Washington Subclass)

        458.    Plaintiffs incorporate by reference and reallege each and every allegation contained

 above, as though fully set forth herein.

        459.    The Washington Consumer Protection Act (“WCPA”) states “[u]nfair methods of

 competition and unfair or deceptive acts or practices in the conduct of any trade or commerce are

 hereby declared unlawful.”



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        460.    Defendant engaged in “trade or commerce” as defined by the WCPA. See Wash.

 Rev. Code Ann. § 19.86.010(2).

        461.    Defendant violates this statute and commits unfair or deceptive acts or practices in

 the conduct of trade or commerce, as alleged herein, including, by omitting material information

 regarding the levels of Toxic Heavy Metals and/or other toxins and toxins in Hain Baby Food

 products.

        462.    Defendant intentionally misrepresented the standard, quality, or grade of the

 Earth’s Best Baby Food products and testing procedures for the products through mislabeling and

 false advertising.

        463.    The omitted information regarding the grade, quality, testing procedures, presence

 of Toxic Heavy Metals and/or other toxins, and safety of baby food products is material

 information consumers relied on when deciding to purchase Defendant’s products.

        464.    Defendant’s omissions increased the risk of harm children faced by consuming the

 Earth’s Best Baby Food products.

        465.    Defendant’s violations were and are, at least, reckless or willful, deceptive, unfair,

 and unconscionable.

        466.    Had Plaintiffs and Class Members known that the products were unsafe, they would

 not have purchased the products, would have bought less of the products, or would have paid less

 for the products.

        467.    Defendant will continue to cause harm through these material misrepresentations

 and omissions without legal action.




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        468.   Plaintiffs and the Washington Subclass seek relief under the statute including actual

 damages or treble damages, injunctive relief, costs and attorney’s fees, and any other relief the

 Court deems necessary and proper.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs, on behalf of themselves and the proposed Class and

 Subclasses, pray for relief and judgment against Defendant as follows:

        a.     An order declaring this action to be a proper class action, appointing Plaintiffs and

               their counsel to represent the Class, and requiring Defendant to bear the costs of

               class notice;

        b.     An order enjoining Defendant from selling the Baby Foods until the levels of Toxic

               Heavy Metals and/or other toxins are removed or reduced and/or full disclosure of

               the presence of such prominently appears on all packaging;

        c.     An order requiring Defendant to establish sourcing and control protocols, consult

               with an independent auditor, and conduct compliance testing.

        d.     An order enjoining Defendant from selling its Baby Foods in any manner

               suggesting or implying that they are healthy, nutritious, and safe for consumption;

        e.     An order requiring Defendant to engage in a corrective advertising campaign and

               to engage in any further necessary affirmative injunctive relief, such as recalling

               existing products;

        f.     An order awarding declaratory relief, and any further retrospective or prospective

               injunctive relief permitted by law or equity, including enjoining Defendant from

               continuing the unlawful practices alleged herein, and injunctive relief to remedy

               Defendant’s past conduct;




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       g.     An order requiring Defendant to pay restitution to restore all funds acquired by

              means of any act or practice declared by this Court to be an unlawful, unfair, or

              fraudulent business act or practice, untrue or misleading advertising, or a violation

              of law, plus pre- and post-judgment interest thereon;

       h.     An order requiring Defendant to disgorge or return all monies, revenues, and profits

              obtained by means of any wrongful or unlawful act or practice;

       i.     Awarding Plaintiffs and the Class compensatory damages, in an amount exceeding

              $5,000,000, to be determined by proof;

       j.     Awarding Plaintiffs and the Class appropriate relief, including actual and statutory

              damages;

       k.     For punitive damages;

       l.     Awarding Plaintiffs and the Class the costs of prosecuting this action, including

              expert witness fees;

       m.     Awarding Plaintiffs and the Class reasonable attorneys’ fees and costs as allowable

              by law;

       n.     Awarding pre-judgment and post-judgment interest; and

       o.     Granting any other relief as this Court may deem just and proper.

                                  JURY TRIAL DEMANDED

       Plaintiffs hereby demand a trial by jury on all issues so triable.



 DATED: March 18, 2022                        Respectfully submitted,

                                              /s/ Michael P. Canty
                                              LABATON SUCHAROW LLP
                                              Michael P. Canty
                                              Carol Villegas
                                              Melissa H. Nafash


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                                   Appointed Interim Counsel for Plaintiffs and the
                                   Proposed Class

                                   [see next page for Additional Counsel]




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